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         Attachment B




                                                                          P. 001
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           S184X230041 - 24
           Denise D Dishongh
           Educational Service District 112
           2500 Northeast 65th Avenue
           Vancouver, WA 98661




                                                                                   P. 002
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       S184X230041 - 24

       Tim Merlino
       Educational Service District 112
       2500 Northeast 65th Avenue
       Vancouver, WA 98661




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                                              US Department of Education
                                                Washington, D.C. 20202

                                        GRANT AWARD NOTIFICATION
1 RECIPIENT NAME                                               2   AWARD INFORMATION

     Educational Service District 112                                      PR/AWARD NUMBER               S184X230041 - 24
     2500 Northeast 65th Avenue                                               ACTION NUMBER              7
     Vancouver, WA 98661                                                         ACTION TYPE             Continuation
                                                                                 AWARD TYPE              Discretionary

3   PROJECT STAFF
                                                               4   PROJECT TITLE

     RECIPIENT PROJECT DIRECTOR                                         84.184X
        Denise D Dishongh           (360) 952-3644                      Educational Service District 112 proposes implementing the
        denise.dishongh@esdl 12.org                                     Help is Down the Hall: Promoting Careers in School-based
     EDUCATION PROGRAM CONTACT                                          Mental Health (HOH) project in eligible high-need schools in
        Tiffani Sims                (202) 987-0790                      our six county region.
        tiffani.sims@ed.gov
     EDUCATION PAYMENT HOTLINE
        G5 PAYEE HELPDESK           888-336-8930
        obssed@servicenowservices.com
5   KEY PERSONNEL

     NAME                               TITLE                                    LEVEL OF EFFORT
     Denise D Dishongh                  Project Director                                     10%

6   AWARD PERIODS

                  BUDGET PERIOD                  01/01/2025 - 12/31/2025
             PERFORMANCE PERIOD                  04/01/2023 - 12/31/2027

    FUTURE BUDGET PERIODS

         BUDGET PERIOD                               DATE                                   AMOUNT
                  3                          01/01/2026 - 12/31/2026                       $504,929.00
                  4                          01/01/2027 - 12/31/2027                       $509,213.00

7   AUTHORIZED FUNDING

                                THIS ACTION                    $413,492.00
                              BUDGET PERIOD                    $413,492.00
                         PERFORMANCE PERIOD                  $1,514,733 .00

8   ADMINISTRATIVE INFORMATION

                  UEI            CPM8P1NSKLJ3
          REGULATIONS            EDGAR AS APPLICABLE
                                 2 CFR AS APPLICABLE
         ATTACHMENTS             2 , 3 , 6 , 8 , 9, 11 , 12 , 13 , 14 , GEl , GE2 , GE3 , GE4, GE5

g   LEGISLATIVE AND FISCAL DATA

      AUTHORITY:                              PL 114-95 (20 U.S.C. 7281) AND 115-245 TITLE IV AND TITLE III THE
                                              ELEMENTARY AND SECONDARY EDUCATION ACT OF 1965, AS
                                              AMENDED BY THE EVERY STUDENT SUCCEEDS ACT AND THE
                                              DEPARTMENT OF DEFENSE AND LABOR, HEALTH AND HUMAN
                                              SERVICES, AND EDUCATION APPROPRIATIONS ACT, 2019 AND
                                              CONTINUING APPROPRIATIONS ACT, 2019
      PROGRAM TITLE:                          SAFE AND DRUG-FREE SCHOOLS AND COMMUNITIES - NATIONAL
                                              PROGRAMS
                                                                                                                        P. 004
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                                                 US Department of Education
                                                   Washington, D.C. 20202

                                           GRANT AWARD NOTIFICATION
       CFDA/SUBPROGRAM NO:                       84.184X

     FUND         FUNDING    AWARD ORG. CODE          CATEGORY        LIMITATION       ACTIVITY      CFDA      OBJECT          AMOUNT
     CODE          YEAR       YEAR                                                                             CLASS
     0203M         2024        2025     ES000000           B              GCC            MHS          184       4101C            $413,492.00

1Q    PR/AWARD NUMBER:                              Sl84X230041 - 24
      RECIPIENT NAME:                               Educational Service District 112
      GRANTEE NAME:                                 EDUCATIONAL SERVICE DISTRICT 112
                                                    2500 NE 65TH AVE,
                                                    VANCOUVER, WA 98661 - 6812
      PROGRAM INDIRECT COST TYPE:                   Unrestricted
      PROJECT INDIRECT COST RATE:

      TERMS AND CONDITIONS

            (1)    The Office of Management and Budget requires all Federal agencies to assign a Federal Award Identifying Number
                   (FAIN) to each of their financial assistance awards. The PR/AWARD NUMBER identified in Block 2 is your FAIN.
                   If subawards are permitted under this grant, and you choose to make subawards, you must document the assigned
                   PR/AWARD NUMBER (FAIN) identified in Block 2 of this Grant Award Notification on each subaward made to a
                   subrecipient under this grant.
                   The term subaward means:
                   1) An award provided by a pass-through entity to a subrecipient for the subrecipient to contribute to the goals and
                   objectives of the project by carrying out part of a Federal award received by the pass-through entity. It does not
                   include payments to a contractor [See 2 CFR 200.33 l(a)(5)], beneficiary, or participant. A subaward may be provided
                   through any form oflegal agreement consistent with criteria in with 200.331, including an agreement the pass-through
                   entity considers a contract. See 2 CFR 200.1.

                   In accordance with 2 CFR 200.331 (a), a subaward is made to a subrecipient for the purpose of carrying out a portion
                   of the Federal award and creates a Federal financial assistance relationship with a subrecipient. Characteristics that
                   support the classification of the entity as a subrecipient include, but are not limited to, when the entity:

                   1) Determines who is eligible to receive what Federal assistance;
                   2) Has its performance measured in relation to whether the objectives of a Federal program were met;
                   3) Has responsibility for programmatic decision-making;
                   4) Is responsible for adherence to applicable Federal program requirements specified in the Federal award; and
                   5) Implements a program for a public purpose specified in authorizing statute, as opposed to providing goods or
                   services for the benefit of the pass-through entity.

            (2)    THE FOLLOWING ITEMS ARE INCORPORATED IN THE GRANT AGREEMENT:
                   1) THE RECIPIENT'S APPLICATION (BLOCK 2);
                   2) THE APPLICABLE EDUCATION DEPARTMENT REGULATIONS: 2 CFR PART 180, NONPROCUREMENT
                   DEBARMENT AND SUSPENSION AS ADOPTED AT 2 CFR PART 3485; 2 CFR PART 200 AS ADOPTED
                   AT 2 CFR 3474 (BLOCK 8), AND 34 CFR PARTS 75, 77, 79, 81, 82, 84, 86, 97, 98, 99; AND THE PROGRAM
                   REGULATIONS SPECIFIED IN BLOCK 8; AND
                   3) THE SPECIFIC CONDITIONS SHOWN AS ATTACHMENTS IN BLOCK 8 ON THE INITIAL AWARD
                   APPLY UNTIL CHANGED.
                   THIS AWARD SUPPORTS ONLY THE BUDGET PERIOD SHOWN IN BLOCK 6. IN ACCORDANCE WITH 34
                   CFR 75.253, A GRANTEE, IN ORDER TO RECEIVE A CONTINUATION AWARD FROM THE SECRETARY
                   FOR A BUDGET PERIOD AFTER THE FIRST BUDGET PERIOD OF AN APPROVED MULTIYEAR PROJECT,
                   MUST 1) EITHER
                   (I) DEMONSTRATE THAT IT HAS MADE SUBSTANTIAL PROGRESS IN ACHIEVING
                   (A) THE GOALS AND OBJECTIVES OF THE PROJECT; AND

                                                                                                                              P. 005
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                                       Washington, D.C. 20202

                               GRANT AWARD NOTIFICATION
      (B) THE PERFORMANCE TARGETS IN THE GRANTEE'S APPROVED APPLICATION, IF THE SECRETARY
      ESTABLISHED PERFORMANCE MEASUREMENT REQUIREMENTS FOR THE GRANT IN THE
      APPLICATION NOTICE; OR
      (II) OBTAIN THE SECRETARY'S APPROVAL FOR CHANGES TO THE PROJECT THAT
      (A) DO NOT INCREASE THE AMOUNT OF FUNDS OBLIGATED TO THE PROJECT BY THE SECRETARY;
      AND
      (B) ENABLE THE GRANTEE TO ACHIEVE THE GOALS AND OBJECTIVES OF THE PROJECT AND MEET
      THE PERFORMANCE TARGETS OF THE PROJECT, IF ANY, WITHOUT CHANGING THE SCOPE OR
      OBJECTIVES OF THE PROJECT;
      2) SUBMIT ALL REPORTS AS REQUIRED BY 75 .118;
      3) CONTINUE TO MEET ALL APPLICABLE ELIGIBILITY REQUIREMENTS OF THE GRANT PROGRAM;
      4) MAINTAIN FINANCIAL AND ADMINISTRATIVE MANAGEMENT SYSTEMS THAT MEET THE
      REQUIREMENTS IN 2 CFR 200.302 AND 200.303; AND
      5) RECEIVE A DETERMINATION FROM THE SECRETARY THAT CONTINUATION OF THE PROJECT IS IN
      THE BEST INTEREST OF THE FEDERAL GOVERNMENT.

      IN ACCORDANCE WITH 2 CFR 200.308(f)(2) CHANGES TO KEY PERSONNEL IDENTIFIED IN BLOCK 5
      MUST RECEIVE PRIOR APPROVAL FROM THE DEPARTMENT.
      THE SECRETARY ANTICIPATES FUTURE FUNDING FOR THIS AWARD ACCORDING TO THE SCHEDULE
      IDENTIFIED IN BLOCK 6. THESE FIGURES ARE ESTIMATES ONLY AND DO NOT BIND THE SECRETARY
      TO FUNDING THE AWARD FOR THESE PERIODS OR FOR THE SPECIFIC AMOUNTS SHOWN. THE
      RECIPIENT WILL BE NOTIFIED OF SPECIFIC FUTURE FUNDING ACTIONS THAT THE SECRETARY
      TAKES FOR THIS AWARD.

(3)   Unless this grant solely funds research, you must comply with new regulations regarding awards to faith-based
      organizations (FBOs) that provide beneficiary services under this grant or under a contract you award to provide
      beneficiary services under this grant. These new regulations clarify the rights of FBOs and impose certain duties on
      FBOs regarding the referral ofbeneficiaries they serve. See 34 CFR 75.52, 75 .712-75.714, appendix A to part 75, and
      2 CFR 3474.15. The Department has established a web page that provides guidance on the new regulations, including
      FAQs and other implementation tools, which is available at http://www2.ed.gov/policy/fund/reg/fbci-reg.html. If you
      have any questions about these regulations, please contact the Education Program Contact identified in Block 3 of this
      GAN.

(4)   Reimbursement of indirect costs is subject to the availability of funds and statutory and regulatory restrictions (34
      CFR 75.564(a) and 34 CFR 76.562(a)). The negotiated indirect cost rate agreement authorizes a recipient to draw
      down indirect costs from the grant awards (34 CFR 75.564(b) and 34 CFR 76.562(b)). The following conditions apply
      to the below entities.

      A. All entities (other than Institutions of Higher Education (IHE)

      The GAN for this grant award shows the indirect cost rate that applies on the date of the initial grant for this project.
      However, after the initial grant date, when a new indirect cost rate agreement is negotiated, the newly approved
      indirect cost rate supersedes the indirect cost rate shown on the GAN for the initial grant. This new indirect cost rate
      should be applied according to the period specified in the indirect cost rate agreement, unless expressly limited under
      statutes, departmental regulations (Education Department General Administrative Regulations (EDGAR)), or program
      regulations. Any grant award with an approved budget can amend the budget to account for a change in the indirect
      cost rate. However, for a discretionary grant award any material changes to the budget which may impact the scope or
      objectives of the grant must be discussed with the program officer at the Department. See 34 CFR 75.560 (d)(3) (ii)
      (part 75 of EDGAR).

      B. Institutions of Higher Education (IHE)

      Under 2 CFR part 200, Appendix III, Indirect (F&A) Costs Identification and Assignment, and Rate Determination
      for Institutions of Higher Education (IHEs ), the Department must apply the negotiated indirect cost rate in effect on
      the date of the initial grant award to every budget period of the project, including all continuation grants made for this
                                                                                                                    P. 006
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                                   GRANT AWARD NOTIFICATION
         project. See 2 CFR Part 200, Appendix III, paragraph C.7. Therefore, the GAN for each continuation grant will show
         the original indirect cost rate and it applies to the entire period of performance of this project. If the indirect cost rate
         agreement that is applicable to this grant does not extend to the end of the grant project period, the indirect cost rate
         set at the start of the project period must still be applied to the end of project period regardless of the fact that the rate
         has otherwise expired.




                                                                     Digitally signed by LISA HARRISON
                       LISA HARRISON                                 Date: 2024.12.1819:51 :31 -05'00'


                                                   AUTHORIZING OFFICIAL                                                    DATE


Ver. I




                                                                                                                           P. 007
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                    EXPLANATION OF BLOCKS ON THE GRANT AWARD NOTIFICATION

For Discretionary, Formula and Block Grants               (See Block 2 of the Notification)
1. RECIPIENT NAME - The legal name of the recipient or name of the primary organizational unit that was identified in the application, state plan
                      or other documents required to be submitted for funding by the grant program.
2. AWARD INFORMATION - Unique items of information that identify this notification.
       PR/AWARD NUMBER- A unique, identifying number assigned by the Department to each application. On funded applications, this is
                               commonly known as the "grant number'' or "document number." The PR/Award Number is also known as the
                                Federal Award Identifying Number, or FAIN.
       ACTION NUMBER - A numeral that represents the cumulative number of steps taken by the Department to date to establish or modify
                           the award through fiscal or administrative means. Action number "01" will always be "NEW AWARD"
       ACTION TYPE - The nature of this notification (e.g., NEW AWARD, CONTINUATION, REVISION, ADMINISTRATIVE)
       AWARD TYPE - The particular assistance category in which funding for this award is provided, i.e., DISCRETIONARY, FORMULA,
                      or BLOCK. If this award was made under a Research and Development grant program, the terms RESEARCH AND
                      DEVELOPMENT will appear under DISCRETIONARY, FORMULA OR BLOCK.
3. PROJECT STAFF - This block contains the names and telephone numbers of the U.S. Department of Education and recipient staff who are
                   responsible for project direction and oversight.
       *RECIPIENT PROJECT DIRECTOR - The recipient staff person responsible for administering the project. This person represents
                                                  the recipient to the U.S. Department of Education.
       EDUCATION PROGRAM CONTACT - The U.S. Department of Education staff person responsible for the programmatic,
                                                  administrative and businessmanagement concerns of the Department.
       EDUCATION PAYMENT CONTACT - The U.S. Department of Education staff person responsible for payments or questions
                                                  concerning electronic drawdown and financial expenditure reporting.
4. PROJECT TITLE AND CFDA NUMBER - Identifies the Catalog of Federal Domestic Assistance (CFDA) subprogram title and the
                                                 associated subprogram number.
5. * KEY PERSONNEL - Name, title and percentage (%) of effort the key personnel identified devotes to the project.
6. AWARD PERIODS - Project activities and funding are approved with respect to three different time periods, described below:
       BUDGET PERIOD - A specific interval of time for which Federal funds are being provided from a particular fiscal year to fund a recipient's
                          approved activities and budget. The start and end dates of the budget period are shown.
       PERFORMANCE PERIOD - The complete length of time the recipient is proposed to be funded to complete approved activities. A
                                    performance period may contain one or more budget periods.
       *FUTURE BUDGET PERIODS - The estimated remaining budget periods for multi-year projects and estimated funds the Department
                                         proposes it will award the recipient provided substantial progress is made by the recipient in
                                         completing approved activities, the Department determines that continuing the project would be in the
                                         best interest of the Government, Congress appropriates sufficient funds under the program, and the
                                         recipient has submitted a performance report that provides the most current performance information
                                         and the status of budget expenditures.
7. AUTHORIZED FUNDING - The dollar figures in this block refer to the Federal funds provided to a recipient during the award periods.
       *TIDS ACTION - The amount of funds obligated (added) or de-obligated (subtracted) by this notification.
       *BUDGET PERIOD - The total amount of funds available for use by the grantee during the stated budget period to this date.
       *PERFORMANCE PERIOD - The amount of funds obligated from the start date of the first budget period to this date.
       RECIPIENT COST SHARE - The funds, expressed as a percentage, that the recipient is required to contribute to the project, as defined
                                     by the program legislation or regulations and/or terms and conditions of the award.
       RECIPIENT NON-FEDERAL AMOUNT - The amount of non-federal funds the recipient must contribute to the project as identified in
                                                     the recipient's application. When non-federal funds are identified by the recipient where a
                                                     cost share is not a legislation requirement, the recipient will be required to provide the non-
                                                     federal funds.




8. ADMINISTRATIVE INFORMATION - This information is provided to assist the recipient in completing the approved activities and
                                                 managing the project in accordance with U.S. Department of Education procedures and
                                                 regulations.
       UEI -            The UEI, issued in SAM.gov, is a unique 12 character organization identifier assigned to each recipient for payment purposes.

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        *REGULATIONS - Title 2 of the Code of Federal Regulations(CFR), Part 200 as adopted at 2 CFR 3474; the applicable parts of the
                                Education Department General Administrative Regulations (EDGAR), specific program regulations (if any), and other
                                titles of the CFR that govern the award and administration of this grant.
      *ATTACHMENTS - Additional sections of the Grant Award Notification that discuss payment and reporting requirements, explain
                                  Department procedures, and add special terms and conditions in addition to those established, and shown as
                                  clauses, in Block 10 of the award. Any attachments provided with a notification continue in effect through the project
                                  period until modified or rescinded by the Authorizing Official.
9. LEGISLATIVE AND FISCAL DATA - The name of the authorizing legislation for this grant, the CFDA title of the program through which
                                                     funding is provided, and U.S. Department of Education fiscal information.
      FUND CODE, FUNDING YEAR, AWARD YEAR, ORG.CODE, PROJECT CODE, OBJECT CLASS -
      The fiscal information recorded by the U.S. Department of Education's Grants Management System (G5) to track obligations by award.
      AMOUNT - The amount of funds provided from a particular appropriation and project code. Some notifications authorize more than one
      amount from separate appropriations and/or project codes. The total of all amounts in this block equals the amount shown on the line, "THIS
      ACTION" (See "AUTHORIZED FUNDING" above (Block 7)).
10. TERMS AND CONDITIONS - Requirements of the award that are binding on the recipient.
      *PARTICIPANT NUMBER - The number of eligible participants the grantee is required to serve during the budget year.
      *GRANTEE NAME - The entity name and address registered in the System for Award Management (SAM). This name and address is
                                    tied to the UEI registered in SAM under the name and address appearing in this field. This name, address and the
                                    associated UEI is what is displayed in the SAM Public Search.
      *PROGRAM INDIRECT COST TYPE - The type of indirect cost permitted under the program (i.e. Restricted, Unrestricted, or
                                                            Training).
      *PROJECT INDIRECT COST RATE - The indirect cost rate applicable to this grant.
      *AUTHORIZING OFFICIAL - The U.S. Department of Education official authorized to award Federal funds to the recipient, establish
                                                  or change the terms and conditions of the award, and authorize modifications to the award

FOR FORMULA AND BLOCK GRANTS ONLY:
(See also Blocks 1, 2, 4, 6, 8, 9 and 10 above)
3. PROJECT STAFF - The U.S. Department of Education staff persons to be contacted for programmatic and payment questions.
7. AUTHORIZED FUNDING
        CURRENT AWARD AMOUNT - The amount of funds that are obligated (added) or de-obligated (subtracted) by this action.
        PREVIOUS CUMULATIVE AMOUNT - The total amount of funds awarded under the grant before this action.
        CUMULATIVE AMOUNT - The total amount of funds awarded under the grant, this action included.
10. AFFILIATE - If an affiliate digital signature appears on this GAN, it is the digital signature belonging to the individual delegated the authority to
                      affix the Authorizing Official's signature to the GAN.
* This item differs or does not appear on formula and block grants.




                                                                                                                                           P. 009
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                 UNITED STATES DEPARTMENT OF EDUCATION
                       OFFICE OF THE CHIEF FINANCIAL OFFICER
                           & CHIEF INFORMATION OFFICER




Denise D Dishongh
Educational Service District 112
2500 Northeast 65th Avenue

Vancouver, WA 98661



SUBJECT: Payee Verification for Grant Award S 184X230041 - 24

This is to inform you of the payee for the above listed grant award issued by the United States
Department of Education

Grantee UEI: CPM8P1NSKLJ3
Grantee Name: EDUCATIONAL SERVICE DISTRICT 112

Payee UEI: CPM8P1NSKLJ3
Payee Name: EDUCATIONAL SERVICE DISTRICT 112

If any of the above information is not correct, please contact a Payee Customer Support
Representative at 1-888-336-8930. Please send all the correspondence relating to the payee or
bank information changes to the following address:


                              U.S. Department of Education
                              550 12th Street, SW
                              Room6087
                              Washington, DC 20202

                              Attn: Stephanie Barnes
                              Phone:202-245-8006




                                                                                             P. 010
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                                                                                     GAN ATTACHMENT 2
                                                                                             Revised 10 2024


                           SPECIFIC GRANT TERMS AND CONDITIONS FOR
                             FINANCIAL AND PERFORMANCE REPORTS


PERFORMANCE REPORTS:

(1) FINAL REPORTS - ALL RECIPIENTS are required to submit a final performance report within 120 days
after the expiration or termination of grant support in accordance with submission instructions provided
in box 10 of the Grant Award Notification (GAN), or through another notification provided by the
Department of Education (Department) (2 CFR § 200.329(c)).

(2) ANNUAL, QUARTERLY, or SEMIANNUAL REPORTS -ALL RECIPIENTS of a multi-year discretionary
award must submit an annual Grant Performance Report (34 CFR § 75.118). The annual performance
report shall provide the most current performance and financial expenditure information that is
sufficient to meet the reporting requirements of 2 CFR §§ 200.328, 200.329, 200.332, and 34 CFR §§
75.590; 75.718; 75.720; 75.623; and 75.732 .

Your education program contact will provide you with information about your performance report
submissions, including the due date, as a grant term or condition in box 10 on the GAN, or through
another notification provided by the Department. The grant term or condition in box 10 on the GAN or
another notification may reflect any of the following :

    1. That a performance report is due before the next budget period begins. The report should
         contain current performance and financial expenditure information for this grant. It will either
         identify the date the performance report is due or state that the Department will provide
         additional information about this report, including due date, at a later time.

    2. That an interim performance report is required because of the nature of the award or because
       of statutory or regulatory provisions governing the program under which this award is made,
       and that the report is due more frequently than annually as indicated, e.g., due quarterly and
       submitted within 30 days after the end of each quarter, or due semiannually and submitted
       within 30 days after the end of each 6-month period (2 CFR § 200.329(c)(l)).

    3. That other reports are required, e.g., program specific reports required in a program's statute or
       regulation or specific conditions are applied (2 CFR § 200.208).

(3) FINANCIAL REPORTS - SOME RECIPIENTS:

If a financial report is required, your education program contact will provide you with information about
your financial report submission, including the due date, as a grant term or condition in box 10 on the
GAN, or through another notification.

A Standard Form (SF) 425 Federal Financial Report (FFR) is required if:

    1. A grant involves cost sharing, and the ED 524B. which collects cost sharing information, is not
         submitted or a program-specific report approved by U.S. Office of Management and Budget
         (0MB) does not collect cost sharing information;
    2.   Program income was earned;

                                                     1


                                                                                                      P. 011
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                                                                                        GAN ATTACHMENT 2
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    3. Indirect cost information is to be reported and the ED 524B was not used or a program-specific
       report approved by 0MB does not collect indirect cost information;
    4. Program regulations or statute require the submission of the FFR; or
    5. Specific Award Conditions, or specific grant or subgrant conditions for designation of "high risk,"
       were imposed in accordance with 2 C.F.R. part 200.208 and part 3474.10 and required the
       submission of the FFR.

If the FFR is required, the notification may indicate one of the following (see the form and its
instructions at Standard Form (SF) 425 Federal Financial Report (FFR)):

    1. Quarterly - FFRs are required for reporting periods ending on 12/31, 03/31, 06/30, 09/30, and
         are due within 30 days after each reporting period.

    2. Semi-annual - FFRs are required for reporting periods ending on 03/31 and 09/30, and are due
       within 30 days after each reporting period.

    3.   Annual - FFRs are required for reporting period ending 09/30, and is due within 30 days after the
         reporting period.

    4.   Final - In coordination with the submission of final performance reports, FFRs are due within 120
         days after the project or grant period end date (2 CFR § 200.328).

When completing an FFR for submission, the following must be noted:

    1. Multiple Grant Reporting Using SF 425A Prohibited: While the FFR is a governmentwide form
         that is designed for single grant and multiple grant award reporting, the Department's policy is
         that multiple grant award reporting is not permitted for Department grants. Thus, a Department
         grantee that is required to submit an FFR in accordance with any of the above referenced
         selections must complete and submit one FFR for each of its grants. Do not use the FFR
         attachment (Standard Form 425A), which is available for reporting multiple grants, for reporting
         on Department grants. As such, references to multiple grant reporting and to the FFR
         attachment in item 2 of the FFR are not applicable to Department grantees. With regards to
         item 1 of the note found in the FFR Instructions, a grantee must complete items l0(a) through
         l0(o) for each of its grants. The multiple grant and FFR attachment reference found in item 2 of
         the Line Item Instructions for the FFR is not applicable to Department grants.

    2.   Program Income: Unless disallowed by statute or regulation, a grantee will complete item 10(m)
         or lO(n) in accordance with the options or combination of options as provided in 2 CFR Part
         200.307 . A grantee is permitted, in accordance with 2 CFR Part 200.307. to add program income
         to its Federal share to further eligible project or program objectives, use program income to
         finance the non-Federal share of the project or program; and deduct program income from the
         Federal share of the total project costs.


    3.   Indirect Costs: A grantee will complete item ll(a) by listing the indirect cost rate type identified
         on its indirect cost rate agreement, as approved by its cognizant agency for indirect costs.




                                                       2


                                                                                                         P. 012
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                                                                                              GAN ATTACHMENT 2
                                                                                                       Revised 04/2024




         A Department grantee that does not have an indirect cost rate agreement approved by its
         cognizant agency for indirect costs, and that is using the Department approved (beyond the 90-
         day temporary period) temporary indirect cost rate of 10% of budgeted direct salaries and
         wages, or the de minimis rate of 15% of modified total direct cost (MTDC) must list its indirect
         cost rate in ll(a) as a Department Temporary Rate or De Minimis Rate. The de minimis rate of
         15% of MTDC consists of:

                    All direct salaries and wages, applicable fringe benefits, materials and supplies, services,
                    travel, and subawards and contracts up to the first $50,000 of each subaward (i.e.,
                    subgrant) . MTDC excludes equipment, capital expenditures, charges for patient care,
                    rental costs, tuition remission, scholarships and fellowships, participant support costs
                    and the portion of each subaward in excess of $50,000. Other items, including contract
                    costs in excess of $50,000, may be excluded when necessary to avoid a serious inequity
                    in the distribution of indirect costs (2 CFR 200.1 "Modified Total Direct Cost (MTDC)").

         A training program grantee whose recovery of indirect cost limits indirect cost recovery to 8% of
         MTDC or the grantees negotiated indirect cost rate, whichever is less in accordance with 34 CFR §
         75.562 (cl. must list its rate in ll(a) as a Department Training Grant Rate. The 8% limit does not
         apply to agencies of Indian tribal governments, local governments, and States 1 as defined in 2 CFR
         § 200.l.

         A restricted program grantee must list its rate as a Restricted Indirect Cost Rate in ll(a). A
         restricted program (i.e., programs with statutory supplement-not-supplant requirements)
         grantee must utilize a restricted indirect cost rate negotiated with its cognizant agency for
         indirect costs, or may elect to utilize a restricted indirect cost rate of 8% MTDC if their
         negotiated restricted indirect cost rate calculated under 34 CFR 75.563 and 76.564 - 76.569, is
         not less than 8% MTDC. A State or local government2 that is a restricted program grantee may
         not elect to utilize the 8% MTDC rate. Additionally, restricted program grantees may not utilize
         the de minim is rate, but may utilize the temporary rate until a restricted indirect cost rate is
         negotiated. If a restricted program grantee elects to utilize the temporary rate, it must list its
         rate as a Department Temporary Rate in ll(a).

         Grantees with indirect cost rates prescribed in program statute or regulation must list their rate
         as a Rate Required in Program Statute or Regulation in ll(a). Grantees are required to follow
         program-specific statutory or regulatory requirements that mandate either indirect cost rate
         type or maximum administrative costs recovery.

         For detailed information including restrictions related to temporary, de minim is, training,
         restricted, and program prescribed indirect cost rates see GAN ATTACHMENT 4.

    4.   Supplemental Pages: If grantees need additional space to report financial information, beyond
         what is available within the FFR, they should provide supplemental pages. These additional
         pages must indicate the following information at the top of each page: the PR/Award Number

1 Note that a State-funded institution of higher education is not considered a "State government" for these purposes;

and a Tribal college or university funded by a federally-recognized Tribe is not considered a Tribe for these
purposes.
2 Note that a State-funded institution of higher education is not considered a "State government" for these purposes.


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     also known as the Federal Identifying Number or FAIN, recipient organization, Unique Entity
     Identifier, Employer Identification Number {EIN), and period covered by the report.



Upon request of the Secretary, a grantee must, at the time of submission to the Secretary, post any
performance and financial reports on a public-facing website maintained by the grantee, after
redacting any privacy or confidential business information {34 CFR § 75.720).




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                   AN OVERVIEW OF AUDIT REQUIREMENTS OF STATES,
                   LOCAL GOVERNMENTS, AND NONPROFIT ORGANIZATIONS

This GAN ATTACHMENT is not applicable to for-profit organizations. For-profit organizations
comply with audit requirements specified in block 10 of their Grant Award Notification
(GAN).

Summary of Audit Requirements for States, Local Governments, and Nonprofit
Organizations:

    1. Single Audit. A non-Federal entity (a State, local government, Indian tribe,
       Institution of Higher Education (IHE)1, or nonprofit organization) that expends
       $1,000,000 or more in Federal awards during the non-Federal entity's fiscal year
       must have a single audit conducted annually in accordance with 2 CFR § 200.501.
       "Audit Requirements," except when it elects to have a program specific audit
       conducted.

    2.   Program-specific audit election. When an auditee expends Federal awards under
         only one Federal program (excluding research and development (R&D)), and the
         Federal program's statutes, regulations, or the terms and conditions of the Federal
         award do not require a financial statement audit of the auditee, the auditee may
         elect to have a program-specific audit conducted. A program-specific audit may not
         be elected for R&D unless all of the Federal awards expended were received from
         the same Federal agency, or the same Federal agency and the same pass-through
         entity, and that Federal agency, or pass-through entity in the case of a subrecipient,
         approves in advance a program-specific audit.

    3. Exemption when Federal awards expended are less than $1,000,000. A non-Federal
       entity that expends less than $1,000,000 during the non-Federal entity's fiscal year
       in Federal awards is exempt from Federal audit requirements for that year, except
       as noted in 2 CFR § 200.503 . but records must be available for review or audit by
       appropriate officials of the Federal agency, pass-through entity, and Government
       Accountability Office (GAO). Generally, grant records must be maintained for a
       period of three years after the date of the final expenditure report (2 CFR § 200.334)

    4.   Federally Funded Research and Development Centers (FFRDC). Management of an
         auditee that owns or operates a FFRDC may elect to treat the FFRDC as a separate
         entity (2 CFR § 501{e)).

    5.   Report Submission. To meet audit requirements of U.S. Office of Management and
         Budget (0MB) Uniform Guidance: Cost Principles, Audit, and Administrative
         Requirements for Federal Awards (Uniform Guidance), grantees must submit all
         audit documents required by Uniform Guidance 2 CFR § 200.512. as well as relevant


1 As defined under the Higher Education Act of 1965, as amended (HEA) section 101.

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         SF-SAC workbook(s) electronically to the Federal Audit Clearinghouse at:
         https://www.fac.gov/.

    6.   The audit, the workbook(s), and reporting package must be submitted within of 30
         calendar days after receipt of the auditor's report(s) or nine months after the end of
         the audit period (whichever is earlier). If the due date falls on a Saturday, Sunday,
         or Federal holiday, the reporting package is due the next business day. The auditee
         must make copies available for public inspection unless restricted by Federal
         statutes or regulation. Auditees and auditors must ensure that their respective
         parts of the reporting package do not include protected personally identifiable
         information (2 CFR § 200.512).

Additional grantee requirements can be found in Uniform Guidance §200.510. including:

    •    Preparing financial statements that reflect the grantee's financial position, results of operations
         or changes in net assets, and where appropriate, cash flows for the fiscal year audited;
    •    Preparing a schedule of expenditures of Federal awards (SEFA) for the period covered by the
         grantee's financial statements;
             o List Federal programs by Federal agency
             o For Federal awards received as a subrecipient, the name of the pass-through entity and
                  assigned identifying number
             o Provide the total Federal awards expended for each Federal program and the Assistance
                  Listing Number (ALN). For a cluster of programs, also provide the total for the cluster
             o Include the total amount provided to subrecipients from each Federal program

Grantees are strongly urged to obtain the "OMB Compliance Supplement" and to contact their
cognizant agency for single audit technical assistance. This supplement will be instructive to both
grantees and their auditors. Appendix Ill of the supplement provides a list of Federal Agency Contacts
for Single Audits, including addresses, phone numbers, fax numbers, and e-mail addresses for technical
assistance.

The designated cognizant agency for single audit purposes is "the Federal awarding agency that provides
the predominant amount of direct funding to the recipient." The Compliance Supplement will be
instructive to both grantees and their auditors. Appendix Ill of the supplement provides a list of Federal
Agency Contacts for Single Audits, including addresses, phone numbers, fax numbers, and e-mail
addresses for technical assistance.

For single audit-related questions, if the U.S. Department of Education is the cognizant agency, grantees
should contact the Non-Federal Audit Team in the Department's Office of Inspector General, at oignon-
federalaudit@ed.gov. Additional resources for single audits are also available on the Non-Federal Audit
Team's website at https://www2.ed.gov/about/offices/list/oig/nonfed/index.html. For programmatic
questions, grantees should contact the education program contact shown on the Department's GAN.

Grantees can obtain information on audits from:

The 0MB website at www.omb.gov. Look under Office of Management and Budget (in right column)
then click Office of Federal Financial Management (to obtain the Current 0MB Compliance Supplement
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in the right column) . The SF-SAC Workbooks and Instructions can be found at the Federal Audit
Clearinghouse at:
https://facides.census.gov/Files/2019-2021%20Checklist%201nstructions%20and%20Form.pdf.

The American Institute of Certified Public Accountants (AICPA) has illustrative 0MB Single Audit
report examples that might be of interest to accountants, auditors, or financial staff that can be
downloaded by searching for "single audit report illustrations" at www. aicpa-cima.com.




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                         REQUEST FOR APPROVAL OF PROGRAM INCOME

In projects that generate program income, the recipient calculates the amount of program income
according to the guidance given in 2 CFR Part 200.307. which addresses the use and expenditure of
program income as well as the methods for use of program income



*** IF YOU RECEIVED YOUR GRANT AWARD NOTIFICATION ELECTRONICALLY AND YOU ARE SUBJECT
TO ANY OF THE RESTRICTIONS IDENTIFIED BELOW, THE RESTRICTION(S) WILL APPEAR IN BOX 10 ON
YOUR GRANT AWARD NOTIFICATION AS A GRANT TERM OR CONDITION OF THE AWARD. ***



Unless checked below as NOT ALLOWED, the recipient may exercise any of the options or combination
of options, as provided in 2 CFR Part 200.307. for using program income generated in the course of the
recipient's authorized project activities:

_ _ Not Allowed Adding program income to funds committed to the project by the Secretary and
   recipient and using it to further eligible project or program objectives;

_ _ Not Allowed Using program income to finance the non-Federal share of the project or program;
    and

_ _ Not Allowed Deducting program income from the total allowable cost to determine the net
   allowable costs.




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                                   TRAFFICKING IN PERSONS

The Department of Education adopts the requirements of the Trafficking Victims Protection Act (TVPA)
of 2000, as codified at 22 U.S.C. 7101 to 7115, in 22 U.S.C. 7104(g); 22 U.S.C. 7104a; 22 U.S.C. 7104b;
and 22 U.S.C. 7104c into this grant through this condition as per the Code of Federal Regulations at 2
CFR Part 175 .


(a) Condition:

The Department, as authorized by 22 U.S.C. 7104b(c), may without penalty, terminate a grant or take any
remedial actions if a recipient or subrecipient engages in:

        (1) Severe forms of trafficking in persons;

        (2) The procurement of a commercial sex act during the period of time that the grant or
        cooperative agreement is in effect;

        (3) The use of forced labor in the performance of the grant or cooperative agreement; or

        (4) Acts that directly support or advance trafficking in persons, including the following acts:

                 (i) Destroying, concealing, removing, confiscating, or otherwise denying an employee
                 access to that employee's identity or immigration documents;

                 (ii) Failing to provide return transportation or pay for return transportation costs to an
                 employee from a country outside the United States to the country from which the
                 employee was recruited upon the end of employment if requested by the employee,
                 unless:

                         (A) exempted from the requirement to provide or pay for such return
                         transportation by the Department; or

                         (B) the employee is a victim of human trafficking seeking victim services or legal
                         redress in the country of employment or a witness in a human trafficking
                         enforcement action;

                 (iii) Soliciting a person for the purpose of employment, or offering employment, by
                 means of materially false or fraudulent pretenses, representations, or promises
                 regarding that employment;

                 (iv) Charging recruited employees a placement or recruitment fee; or




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                (v) Providing or arranging housing that fails to meet the host country's housing and
                safety standards.




(b) Compliance plan and certification requirement:

(1) Prior to receiving a grant, if the estimated value of services required to be performed under the
grant or cooperative agreement outside the United States exceeds $500,000, you must certify that:

        (i) You have implemented a plan to prevent the activities described in paragraph (a) of this
        section, and are in compliance with this plan;

        (ii) You have implemented procedures to prevent any activities described in paragraph (a) of this
        section and to monitor, detect, and terminate any subrecipient, contractor, subcontractor, or
        employee of the recipient engaging in any activities described in paragraph (a) of this section;
        and

        (iii) To the best of your knowledge, neither you, nor any subrecipient, contractor, or
        subcontractor of the recipient or any agent of the recipient or of such a subrecipient, contractor,
        or subcontractor, is engaged in any of the activities described in paragraph (a) of this section.



(2) Annual certification. You must submit an annual certification consistent with paragraph (b){l) of this
section for each year the award is in effect.



(3) Compliance plan. Any plan or procedures implemented pursuant to paragraph (b) must be
appropriate to the size and complexity of the grant or cooperative agreement and to the nature and
scope of its activities, including the number of non-United States citizens expected to be employed.



(4) Copies of the compliance plan. The recipient must provide a copy of the plan to the grant officer
upon request, and as appropriate, must post the useful and relevant contents of the plan or related
materials on its website and at the workplace.



(5) Minimum requirements of the compliance plan. The compliance plan must include, at a minimum,
the following:

        (i) An awareness program to inform recipient employees about the Government's policy
        prohibiting trafficking-related activities described in paragraph (a) of this section, the activities
        prohibited, and the actions that will be taken against the employee for violations. Additional
        information about Trafficking in Persons and examples of awareness programs can be found at
        the website for the Department of State's Office to Monitor and Combat Trafficking in Persons at
        http://www.state.gov/j/tip/.


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        (ii) A process for employees to report, without fear of retaliation, activity inconsistent with the
        policy prohibiting trafficking in persons.

       (iii) A recruitment and wage plan that only permits the use of recruitment companies with
       trained employees, prohibits charging recruitment fees to the employees or potential employees
       and ensures that wages meet applicable host-country legal requirements or explains any
       variance.

       (iv) A housing plan, if the recipient, subrecipient, contractor, or subcontractor intends to provide
       or arrange housing, that ensures that the housing meets host-country housing and safety
       standards.

       (v) Procedures to prevent agents, subrecipients, contractors, or subcontractors at any tier and at
       any dollar value from engaging in trafficking in persons, including activities in paragraph (a) of
       this section, and to monitor, detect, and terminate any agents, subgrants, or subrecipient,
       contractor, or subcontractor employees that have engaged in such activities.



(c) Notification to Inspectors General and cooperation with government. In addition, you must:

       (1) Immediately inform the Department and Inspector General of the Department of any
       information you receive from any source that alleges credible information that you, any
       subrecipient, contractor, or subcontractor, or any agent of your organization or subrecipient,
       contractor, or subcontractor, has engaged in conduct described in paragraph (a) of this section;
       and

       (2) Fully cooperate with any Federal agencies responsible for audits, investigations, or corrective
       actions relating to trafficking in persons.




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                           FEDERAL FUNDING ACCOUNTABILITY TRANSPARENCY ACT
                          REPORTING SUBAWARDS AND EXECUTIVE COMPENSATION


The Federal Funding Accountability and Transparency Act (FFATA) is designed to increase transparency
and improve the public's access to Federal government information. To this end, FFATA requires that
Department of Education (Department) grant recipients:

    1.   Report first-tier subawards made under Federal grants that are funded at $30,000 or more that
         meet the reporting conditions as set forth in this grant award term;
    2.   Report a subaward if a modification increases the Federal funding to an amount that equals or
         exceeds $30,000;
    3.   Report their executives' compensation for all new Federal grants that are funded at $30,000 and
         that meet the reporting conditions as set forth in this grant award term; and
    4.   Report executive compensation data for their first-tier subrecipients that meet the reporting
         conditions as set forth in this grant award term .

For FFATA reporting purposes, the Department grant recipient is the entity listed in box 1 of the Grant
Award Notification.

Only first-tier subawards made by the Department grant recipient to its first-tier subrecipients and the
first-tier subrecipients' executive compensation are required to be reported in accordance with FFATA.

Subaward, Subrecipient, Recipient, Total Compensation, Executives, and other key terms, are defined
within item 5, Definitions, of this grant award term.

This grant award term is issued in accordance with 2 CFR Part 170-Reporting Subaward And Executive
Compensation Information.

    1. Reporting of First-tier Subawards -

    a. Applicability and what to report.

         Unless you are exempt as provided item 4, Exemptions, of this grant award term, you must
         report each obligation that equals or exceeds $30,000 in Federal funds for a first-tier subaward
         to a non-Federal entity or Federal agency.

         You must report the information about each obligating action that are specified in the
         submission instructions posted at FSRS.

    b. Where and when to report.

         The Department grant recipient must report each obligating action described in paragraph 1.a.
         of this award term to FSRS.

         Report subaward information no later than the end of the month following the month in which
         the subaward obligation was made. For example, if the obligation was made on November 7,
         2025, the obligation must be reported by no later than December 31, 2025.


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2.         Reporting Total Compensation of the Department's Grant Recipients' Executives -

a. Applicability and what to report.

           You must report total compensation for each of your five most highly compensated executives
           for the preceding completed fiscal year, if-

                The total Federal funding authorized to date under this Federal award equals or exceeds
                $30,000;

           ii   In the preceding fiscal year, you received-

                A. 80 percent or more of your annual gross revenues from Federal procurement contracts
                   (and subcontracts) and Federal financial assistance subject to the Transparency Act, as
                   defined at 2 CFR 170.320 (and subawards), and
                B. $25,000,000 or more in annual gross revenues from Federal procurement contracts (and
                   subcontracts) and Federal financial assistance subject to the Transparency Act, as
                   defined at 2 CFR 170.320 (and subawards); and,
                C. The public does not have access to information about the compensation of the
                   executives through periodic reports filed under section 13(a) or 15(d) of the Securities
                   Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue
                   Code of 1986 after receipt of a subaward . (To determine if the public has access to the
                   compensation information, see the U.S. Security and Exchange Commission total
                   compensation filings at http://www.sec.gov/answers/execomp.htm.)

b. Where and when to report.

           You must report executive total compensation described in paragraph 2.a. of this grant award
           term:

      i.        As part of your registration profile at https://www.sam.gov.

     ii.        No later than the month following the month in which this award is made and annually after
                that. (For example, if the obligation was made on November 7, 2025, the executive
                compensation must be reported by no later than December 31, 2025, and annually
                thereafter.)

3.         Reporting of Total Compensation of Subrecipient Executives -

a. Applicability and what to report.

           Unless you are exempt as provided in item 4, Exemptions, of this award term, for each first-tier
           non-Federal entity subrecipient under this award, you shall report the names and total
           compensation of each of the subrecipient's five most highly compensated executives for the
           subrecipient's preceding completed fiscal year, if-




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                The total Federal funding authorized to date under this Federal award equals or exceeds
                $30,000;

           ii   In the preceding fiscal year, you received-

                A. 80 percent or more of its annual gross revenues from Federal procurement contracts
                   (and subcontracts) and Federal financial assistance subject to the Transparency Act, as
                   defined at 2 CFR 170.320 (and subawards), and
                B. $25,000,000 or more in annual gross revenues from Federal procurement contracts (and
                   subcontracts) and Federal financial assistance subject to the Transparency Act, as
                   defined at 2 CFR 170.320 (and subawards); and,
                C. The public does not have access to information about the compensation of the
                   executives through periodic reports filed under section 13(a) or 15(d) of the Securities
                   Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue
                   Code of 1986 after receipt of a subaward. (To determine if the public has access to the
                   compensation information, see the U.S. Security and Exchange Commission total
                   compensation filings at http://www.sec.gov/answers/execomp.htm.)

b. Where and when to report.

           You must report subrecipient executive total compensation described in paragraph 3.a. of this
           grant award term:

      i.        In FSRS. You must include a condition on subawards that requires the subrecipients to
                timely report the information required under paragraph 3.a. to you the prime awardee, or
                in the SAM .gov. Subrecipient executive compensation entered in SAM.gov by the
                subrecipient will pre-populate in FSRS, so you do not have to report when subrecipients
                enter this information in SAM.gov. Subrecipient executive compensation not entered in
                SAM.gov by the subrecipient is reported in FSRS by you the Department grant recipient.

     ii.        No later than the end of the month following the month during which you make the
                subaward. For example, if the subaward obligation was made on November 7, 2025 the
                subrecipient's executive compensation must be reported by no later than December 31,
                2025.

4.         Exemptions -

a.         If, in the previous tax year, you had gross income, from all sources, under $300,000, you are
           exempt from the requirements to report:

      i.        Subawards, and

     ii.        The total compensation of the five most highly compensated executives of any subrecipient.

5.         Definitions -

a.         For purposes of this award term:


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Entity includes:

(1) Whether for profit or nonprofit:

(i) A corporation;

(ii) An association;

(iii) A partnership;

(iv) A limited liability company;

(v) A limited liability partnership;

(vi) A sole proprietorship;

(vii) Any other legal business entity;

(viii) Another grantee or contractor that is not excluded by subparagraph (2); and

(ix) Any State or locality;

(2) Does not include:

(i) An individual recipient of Federal financial assistance; or

(ii) A Federal employee.

Executive means an officer, managing partner, or any other employee holding a management
position .

Subaward has the meaning given in 2 CFR § 200.1.

Subrecipient has the meaning given in 2 CFR § 200.1.

Total Compensation means the cash and noncash dollar value an executive earns during an entity's
preceding fiscal year. This includes all items of compensation as prescribed in 17 CFR § 229.402(c){2) .




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                          SPECIFIC CONDITIONS FOR DISCLOSING
                      FEDERAL FUNDING IN PUBLIC ANNOUNCEMENTS

When issuing statements, press releases, requests for proposals, bid solicitations and other
documents describing projects or programs funded in whole or in part with Federal money, U.S.
Department of Education grantees shall clearly state:

       1) the percentage of the total costs of the program or project which will be financed with
          Federal money;

       2) the dollar amount of Federal funds for the project or program; and

       3) the percentage and dollar amount of the total costs of the project or program that will
          be financed by non-governmental sources.




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     PROHIBITION OF TEXT MESSAGING AND EMAILING WHILE DRIVING
               DURING OFFICIAL FEDERAL GRANT BUSINESS

  Federal grant recipients, subrecipients, and their grant personnel are prohibited from text
  messaging while driving a government owned vehicle, or while driving their own privately-
  owned vehicle during official grant business, or from using government supplied electronic
  equipment to text message or email when driving.


  Recipients must comply with these conditions under Executive Order 13513,
  "Federal Leadership on Reducing Text Messaging While Driving," October 1,
  2009.




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           REGISTRATION OF UNIQUE ENTITY IDENTIFIER (UEI) NUMBER AND TAXPAYER
        IDENTIFICATION NUMBER (TIN) IN THE SYSTEM FOR AWARD MANAGEMENT (SAM.gov)



The U.S. Department of Education's (Department) Grants Management System (GS) disburses
payments via the U.S. Department of Treasury (Treasury). The U.S. Treasury requires that we include
your Tax Payer Identification Number (TIN) with each payment. Therefore, to do business with the
Department you must have a registered Unique Entity Identifier (UEI) and TIN number in SAM.gov, the
U.S. Federal Government's primary registrant database.


What is a UEI? SAM .gov assigns a UEI to entities when they pass validation in SAM .gov. The UEI is a 12-
character alphanumeric identifier used in SAM .gov and other federal government systems to identify a
unique entity.


If the payee UEI number is different than your grantee UEI number, both numbers must be registered
in SAM.gov. Failure to register both will delay the receipt of payments from the Department.


What is a TIN? A TIN is an identification number used by the Internal Revenue Service (IRS) in the
administration of tax laws. It is issued either by the Social Security Administration (SSA) or by the IRS. A
Social Security number (SSN) is issued by the SSA whereas all other TINs are issued by the IRS.

The following are all considered TINs according to the IRS.


    •    Social Security Number "SSN"
    •    Employer Identification Number "EIN"
    •    Individual Taxpayer Identification Number "ITIN"
    •    Taxpayer Identification Number for Pending U.S. Adoptions "ATIN"
    •    Preparer Taxpayer Identification Number "PTIN"

If your UEI number is not currently registered with SAM.gov, you can easily register by going to
www.sam.gov. Allow at least ten business days after you submit your registration for it to become
active in SAM.gov. If you need a new TIN, please allow 2-5 weeks for your TIN to become active. If you
need assistance during the registration process, you may contact the Federal Service Desk (FSD) . Live
chat information and other information about the FSD is available at: GSAFSD Service Portal Landing -
GSA Federal Service Desk Service Porta l.

If you are currently registered with SAM.gov, you may not have to make any changes. However, please
take the time to validate that the TIN associated with your UEI is correct.

If you have any questions or concerns, please contact the GS Hotline at 888-336-8930.




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       SYSTEM FOR AWARD MANAGEMENT REQUIREMENTS FOR RECIPIENTS AND THEIR
                               SUBRECIPIENTS

1.   Requirement for System for Award Management (SAM.gov)

Unless you are exempted from this requirement under 2 CFR § 25.110, you are, in accordance with your
grant program's Notice Inviting Applications, required to maintain an active SAM.gov registration with
current information about your organization, including information on your immediate and highest level
owner and subsidiaries, as well as on all predecessors that have been awarded a Federal contract or
grant within the last three years, if applicable, at all times during which you have an active Federal
award or an application or plan under consideration by a Federal awarding agency. To remain
registered in SAM.gov after your initial registration, you are required to review and update your
information in SAM.gov on an annual basis from the date of initial registration or subsequent updates to
ensure it is current, accurate and complete.

2. Recipient Requirements of Subrecipients
In accordance with 2 CFR § 25.300 you are required to ensure that your subrecipients have a Unique
Entity Identifier (UEI). Note that subrecipients are not required to complete full registration in SAM.gov
to obtain a UEI, which is required for an entity to directly do business with the Federal government.
Instead, subrecipients may obtain a UEI by signing up in SAM.gov to get an account and establish a
profile.

You may not make a subaward to a subrecipient that has not obtained a UEI and provided it to you, and
you are required to notify any potential subrecipients that you cannot make a subaward unless the
subrecipient obtains a UEI and provides it to you.

3.   Definitions

For purposes of this award term:

l.   System for Award Management (SAM.gov) means the Federal repository into which a recipient must
     provide information required for the conduct of business as a recipient. See 2 CFR 25.400.

2. Unique Entity Identifier (UEI) Means the universal identifier assigned by SAM .gov to uniquely identify
   business entities. See 2 CFR 25.400.

3. Recipient means an entity that receives a Federal award directly from a Federal agency to carry out
   an activity under a Federal program . The term recipient does not include subrecipients or individuals
   that are participants or beneficiaries of the award . See 2 CFR 200.l.

4. Subaward means an award provided by a pass-through entity to a subrecipient for the subrecipient
   to contribute to the goals and objectives of the project by carrying out part of a Federal award
   received by the pass-through entity. It does not include payments to a contractor, beneficiary, or
   participant. A subaward may be provided through any form of legal agreement consistent with
   criteria in with § 200.331, including an agreement the pass-through entity considers a contract. See 2
   CFR 200.l.

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5. Subrecipient means an entity that receives a subaward from a pass-through entity to carry out part
   of a Federal award. The term subrecipient does not include a beneficiary or participant. A
   subrecipient may also be a recipient of other Federal awards directly from a Federal agency. See 2
   CFR 200.1.




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     KEY FINANCIAL MANAGEMENT REQUIREMENTS FOR DISCRETIONARY GRANTS
                  AWARDED BY THE DEPARTMENT OF EDUCATION

The Department expects grantees to administer Department grants in accordance with generally
accepted business practices, exercising prudent judgment to maintain proper stewardship of
taxpayer dollars. This includes using fiscal control and fund accounting procedures that insure
proper disbursement of and accounting for Federal funds. In addition, grantees may use grant
funds only for obligations incurred during the funding period .

Title 2 of the Code of Federal Regulations Part 200, "Uniform Administrative Requirements, Cost
Principles, and Audit Requirements for Federal Awards," establishes requirements for Federal
awards made to non-Federal entities. The Education Department General Administrative
Regulations (EDGAR) in 34 CFR Parts 75, 76, 77, 79, 81, 82, 84, 86, 97, 98, and 99 contain
additional requirements for administering discretionary grants made by this Department. The
most recent version of these regulations may be accessed at the following URLs:

2 CFR 34 Subtitle A (see EDGAR Parts 75, 76, 77, 79, 81. 82, 84, 86, 97, 98, & 99)

2 CFR Part 200 Uniform Administrative Requirements. Cost Principles. and Audit Requirements
for Federal Awards

The information on page 2 of this enclosure, "Selected Topics in Administering Department
Discretionary Grants," highlights major administrative requirements of 2 CFR Part 200. In
addition, a few of the topics explain requirements that the Department imposes on its
discretionary grantees under EDGAR, Part 75 (Direct Grants). The specific sections of 2 CFR Part
200 and of EDGAR that address the topics are shown in parentheses. The Department urges
grantees to read the full text of these and other topics in EDGAR and in 2 CFR Part 200.

Grantees are reminded that a particular grant might be subject to additional requirements of
the authorizing statute for the program that awarded the grant and/or any regulations issued by
the program office. Grantees should become familiar with those requirements as well because
program-specific requirements might differ from those in 2 CFR Part 200 and in EDGAR.

The Department recommends that the project director and the fiscal management staff of a
grantee organization communicate frequently with each other about the grant budget. Doing so
will help to ensure that you use Federal funds only for those expenditures associated with
activities that conform to the goals and objectives approved for the project.

Grantees may direct any questions regarding the topics on page 2 of this enclosure, "Selected
Topics in Administering Department Discretionary Grants," or about any other aspect of
administering your grant award to the Department program staff person named in Block 3 of
the Grant Award Notification.




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          SELECTED TOPICS IN ADMINISTERING DEPARTMENT DISCRETIONARY GRANTS

I.        Financial Management Systems (2 CFR § 200.302)

The grantee's and subrecipient's_financial management system must provide for the following (see§§
200.334, 200.335, 200.336, and 200.337):

      •   Identification of all Federal awards received and expended and the Federal programs under
          which they were received . Federal program and Federal award identification must include, as
          applicable, the Assistance Listings title and number, Federal award identification number, year
          the Federal award was issued, and name of the Federal agency or pass-through entity.
      •   Accurate, current, and complete disclosure of the financial results of each Federal award
          or program in accordance with the reporting requirements in §§ 200.328 and 200.329 .
      •   Maintaining records that sufficiently identify the amount, source, and expenditure of Federal
          funds for Federal awards. These records must contain information necessary to identify Federal
          awards, authorizations, financial obligations, unobligated balances, as well as assets,
          expenditures, income, and interest. All records must be supported by source documentation.
      •   Effective control over, and accountability for, all funds, property, and assets. The grantee or
          subrecipient must-safeguarEI all assets and ensure they are used solely for authorized purposes.
          See § 200.303.
      •   Comparison of expenditures with budget amounts for each Federal award.
      •   Written procedures to implement the requirements of§ 200.305.
      •   Written procedures for determining the allowability of costs in accordance with subpart
          E of 2 CFR Part 200 and the terms and conditions of the Federal award.

State systems must account for funds in accordance with State laws and procedures that apply
to the expenditure of and the accounting for a State's own funds. A State's procedures, as well
as those of its subrecipients and contractors, must be sufficient to permit the preparation of
reports that may be required under the award as well as provide the tracing of expenditures to a
level adequate to establish that award funds have not been used in violation of any applicable
statutory restrictions or prohibitions.

II.       Internal controls (2 CFR § 200.303)

The grantee and subrecipient must:

      •   Establish, document, and maintain effective internal control over the Federal award that
          provides reasonable assurance that the grantee or subrecipient is managing the Federal award in
          compliance with Federal statutes, regulations, and the terms a.rid conditions of the Federal
          award . These internal controls should align with the guidance in "Standards for Internal Control
          in the Federal Government" issued by the Comptroller General of the United States or the
          "Internal Control Integrated Framework" issued by the Committee of Sponsoring Organizations
          of the Treadway Commission (COSO).
      •   Comply with the U.S. Constitution, Federal statutes, regulations, and the terms and conditions of
          the Federal award.
      •   Evaluate and moni! or the grantee's or subrecipient's compliance with statutes, regulations, and
          the terms and conditions of Federal awards.


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       •   Take prompt action when instances of noncompliance are identified.,.
       •   Take reasonable cybersecurity and other measures to safeguard information including protected
           personally identifiable information {PII) and other types of information consistent with
           applicable Federal, State, local, and tribal laws regarding privacy and responsibility over
           confidentiality.

Ill.       Federal Payment (2 CFR § 200.305)

Under this part --

       •   the Department pays grantees in advance of their expenditures if the grantee
           demonstrates a willingness and ability to minimize the time between the transfer of
           funds to the grantee and the disbursement of the funds by the grantee;
       •   where the time between the transfer of funds to the grantee and the disbursement of
           funds cannot be minimized, the preferred method of payment is reimbursement of
           expenditures incurred by the non-Federal entity;
       •   grantees, generally, must maintain advance payments of Federal awards in interest
           bearing accounts that are insured; grantees or subrecipients may retain up to $500 per
           year of interest earned on Federal funds to use for administrative expenses of the
           grantee or subrecipient. Any additional interest earned on Federal funds must be
           returned annually to the Department of Health and Human Services Payment
           Management System {PMS) through either the Automated Clearing House (ACH)
           network or a Fedwire Funds Service payment. All interest in excess of $500 per year
           must be returned to PMS regardless of whether the grantee or subrecipient was paid
           through PMS. Instructions for returning interest can be found at: Returning
           Funds/Interest I HHS PSC FMP Payment Management Services.

In general, grantees should make payment requests frequently, only for small amounts
sufficient to meet the cash needs of the immediate future.

The Department has recently encountered situations where grantees failed to request funds
until long after the grantee actually expended its own funds for the costs of its grant. Grantees
need to be aware that, by law, Federal funds are available for grantees to draw down for only a
limited period of time, after which the funds revert to the U.S. Treasury. In some cases grantees
have requested funds too late for the Department to be able to pay the grantees for legitimate
costs incurred during their project periods. The Department urges financial managers to
regularly monitor requests for payment under their grants to assure that Federal funds are
drawn from the Department GS Payment System at the time those funds are needed for
payments to vendors and employees.

IV.        Personnel (EDGAR 34 CFR §§ 75.511-75.519 and 2 CFR Part 200 Subparts D and E)

The rules governing personnel costs are located in EDGAR Part 75 and 2 CFR Part 200 Subparts D
and E. Part 75 covers issues such as paying consultants with grant funds, prohibiting dual
compensation of staff, and waiving the requirement for a full-time project director. The rules
clarifying changes in key project staff are located in 2 CFR § 200.308 (f)(2). General rules
governing reimbursement of salaries and compensation for staff working on grant projects are
addressed in the post Federal award requirements and cost principles in 2 CFR Part 200

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Subparts D and E. In all cases, payments of any type to personnel must be supported by
complete and accurate records of employee time and effort. For those employees that work on
multiple functions or separately funded programs or projects, the grantee must also maintain
time distribution records to support the allocation of employee salaries among each function
and separately funded program or project.

V.        Cost Principles (2 CFR Part 200 Subpart E)

All costs incurred under any grant are subject to the cost principles found in 2 CFR Part 200
Subpart E. The cost principles provide a list of selected items of allowable and unallowable costs
and must be used in determining the allowability of costs funded under the grant.

VI.        Procurement Standards (2 CFR §§ 200.317-327)

Under 2 CFR §§ 200.317 - 200.327, States are required to follow the procurement rules the
States have established for purchases funded by non-Federal sources. When procuring goods
and services for a grant's purposes, all other grantees (i.e., grantees that are not States) may
follow their own procurement procedures, but only to the extent that those procedures meet
the minimum requirements for procurement specified in the regulations. These requirements
include written competition procedures and codes of conduct for grantee staff, as well as
requirements for cost and price analysis, record-keeping and contractor compliance with certain
Federal laws and regulations. These regulations also require grantees to include certain
conditions in contracts and subcontracts, as mandated by the regulations and statutes.

VII.       Indirect Costs (EDGAR §§§75.560-564, 76.560-569, and 2 CFR § 200.414)

In addition to the information presented below, see GAN ATTACHMENT 2 and 4 for additional
information including restrictions related to temporary, de minimis, training, restricted and
program prescribed indirect cost rates.

A.     Unrestricted Indirect Cost Rate

To utilize an unrestricted indirect cost rate the grant must not have restricted (supplement-not-
supplant), training, or program specific indirect cost rate restrictions.

To obtain an unrestricted indirect cost rate the grantee may:
            •   negotiate an indirect cost agreement with its cognizant agency for indirect costs (2 CFR
                §200.1 "Cognizant agency for indirect costs"), by submitting an indirect cost proposal
                within 90 days after the award of this grant; or
            • elect to utilize the de mini mis rate under 2 CFR §200.414(f); or
            • a temporary indirect cost rate subject to the limitations in 34 CFR §75.SG0(d)

The grantee must provide proof of its negotiated indirect cost rate agreement to the Department as
soon as it has signed such an agreement with its cognizant agency.




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B. Temporary Indirect Cost Rate

A grantee that does not have a current negotiated indirect cost rate agreement may recover indirect
costs at a temporary rate, which is limited to 10% of budgeted direct salaries and wages (See 34 CFR §§
75.560(c) and 76.560(d)); or it may choose not to charge indirect costs to the grant. The temporary rate
can only be used for 90 days unless the exceptional circumstances apply under 34 CFR § 75.560(d)(2).

If the grantee has not submitted its indirect cost proposal to its cognizant agency within the 90-day
period, it may no longer recover indirect costs utilizing the temporary indirect cost rate until it has
negotiated an indirect cost rate agreement with its cognizant agency. Once a grantee obtains a current
federally recognized indirect cost rate that is applicable to this grant, the grantee may use that indirect
cost rate to claim indirect cost reimbursement.

C.   De minimis Indirect Cost Rate

Institutions of Higher Education (IHEs), federally recognized Indian Tribes, State and Local Governments 1
receiving less than $35 million (appendix VII to this part, paragraph D.1.b) in direct federal funding, and
nonprofit organizations, if they do not have a current negotiated (including a provisional 2 ) rate, and are
not subject to the Department's training rate or restricted rate (supplement-not-supplant provisions)
may elect to charge a de minimis indirect cost rate of 15% of modified total direct costs (2 CFR 200.1
"Modified Total Direct Cost (MTDC)). This rate may be used indefinitely.

MTDC consists of all direct salaries and wages, applicable fringe benefits, materials and supplies,
services, travel, and subawards and contracts up to the first $50,000 of each subaward (i.e., subgrant) .
MTDC excludes equipment, capital expenditures, charges for patient care, rental costs, tuition
remission, scholarships and fellowships, participant support costs, and the portion of each subaward in
excess of $50,000. Other items, including contract costs in excess of $50,000, may be excluded when
necessary to avoid a serious inequity in the distribution of indirect costs (2 CFR 200.1 "Modified Total
Direct Cost (MTDC)) .

Additionally, the de minimis rate may not be used by grantees that are subject to the Department's
training indirect cost rate (34 CFR § 75.562) or restricted indirect cost (34 CFR §§ 75.563 and 76.563).
The de minimis rate may be used indefinitely. However, if a grantee chooses to use the de minimis rate
to recover indirect costs, it must do so for all its Federal awards until such time as the grantee
negotiates an indirect cost rate with its cognizant Federal agency. Once a grantee obtains a current
federally recognized indirect cost rate that is applicable to this grant, the grantee may use that indirect
cost rate to claim indirect cost reimbursement.

D. Restricted Indirect Cost Rate (Programs with a Supplement-not-supplant requirement

A restricted program (i.e., programs with statutory supplement-not-supplant requirements) grantee
must utilize a restricted indirect cost rate negotiated with its cognizant Federal agency for indirect costs


1 Note that a State-funded institution of higher education is not considered a "State government" for these

purposes.
2 Provisional rate means a temporary indirect cost rate applicable to a specified period which is used for funding,

interim reimbursement, and reporting indirect costs on Federal awards pending the establishment of a final rate
for the period.

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or may elect to utilize a restricted indirect cost rate of 8% MTDC if their negotiated restricted indirect
cost rate calculated under 34 CFR §§ 75.563 and 76.564 - 76.569, is not less than 8% MTDC. A State or
local government 3 that is a restricted program grantee may not elect to utilize the 8% MTDC rate.
Additionally, restricted program grantees may not utilize the de minimis rate but may utilize the
temporary rate until a restricted indirect cost rate is negotiated.

E. Training Grant Indirect Cost Rate

If the grantee is a training grant recipient and is not a State, local, or Tribal government4, the grantee
must negotiate a rate under 34 CFR § 75.562. This provision limits indirect cost recovery to 8% of
modified total direct costs or the grantee's negotiated indirect cost rate, whichever is less.

The recovery using the training grant indirect cost rate is subject to the following limitations:

       i.      The lesser of the 8% indirect cost rate or negotiated indirect cost rate also applies to sub-awards
               that fund training.
      ii.      The 8% limit does not apply to agencies of Indian tribal governments, local governments, and
               States as defined in 2 CFR § 200.1, respectively.
     iii.      Indirect costs in excess of the 8% limit may not be charged directly, used to satisfy matching or
               cost-sharing requirements, or charged to another Federal award.
     iv.       A grantee using the training rate of 8% is required to have documentation available for audit
               that shows that its negotiated indirect cost rate is at least 8%.

F.          Program-Specific Indirect Cost Rate

Grantees are required to follow program-specific statutory or regulatory requirements that mandate
either indirect cost rate type or maximum administrative costs recovery instead of the general
requirements described here.

VIII.          Audit Requirements (2 CFR Part 200 Subpart F)

2 CFR 200 Subpart F requires that grantees that are non-Federal entities (a State, local
government, Indian tribe, IHE, or nonprofit organization that carries out a Federal award as a
recipient or subrecipient) obtain a non-Federal audit of their expenditures under their Federal
grants if the grantee expends more than $1,000,000 in Federal funds in one fiscal year. 2 CFR
Part 200 Subpart F contains the requirements imposed on grantees for audits conducted in
connection with the Single Audit Act of 1984-Public Law No. 98-502 and its Amendments of
1996-Public Law No. 104-.

The Department recommends hiring auditors who have specific experience in auditing Federal
awards under the regulations and the Compliance Supplement.



3 Note that a State-funded institution of higher education is not considered a "State government" for these
purposes.
4 Note that a State-funded institution of higher education is not considered a "State government" for these

purposes; and a Tribal college or university funded by a federally recognized Tribe is not considered a Tribe for
these purposes.

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IX.     Other Considerations

Some other topics of financial management covered in 2 CFR Part 200 that might affect
particular grants include program income (2 CFR § 200.307), cost sharing or matching (2 CFR §
200.306), property management requirements for equipment (2 CFR § 200.313), and equipment
and other capital expenditures (2 CFR § 200.439).




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                         MEMORANDUM TO ED DISCRETIONARY GRANTEES

You are receiving this memorandum to remind you of Federal requirements, found in 2 CFR Part 200, Uniform
Administrative Requirements, Cost Principles, and Audit Requirements, regarding cash drawdowns under your
grant account.

For any cash that you draw from your Department of Education (the Department) grant account, you
must:

•    draw down only as much cash as is necessary to meet the immediate needs of the grant project;
•    keep to the minimum the time between drawing down the funds and paying them out for grant
              activities; and
•    return to the Government the interest earned on grant funds deposited in interest-bearing bank
     accounts except for a small amount of interest earned each year that your entity is allowed to keep to
     reimburse itself for administrative expenses) .

In order to meet these requirements, you are urged to:

•    take into account the need to coordinate the timing of drawdowns with prior internal clearances (e.g., by
     boards, directors, or other officials) when projecting immediate cash needs so that funds drawn down
     from ED do not stay in a bank account for extended periods of time while waiting for approval;
•    monitor the fiscal activity (drawdowns and payments) under your grant on a continuous basis;
•    plan carefully for cash flow in your grant project during the budget period and review project cash
     requirements before each drawdown; and
•    pay out grant funds for project activities as soon as it is practical to do so after receiving cash from the
     Department.

Keep in mind that the Department monitors cash drawdown activity for all grants. Department staff will
contact grantees who appear to have drawn down excessive amounts of cash under one or more grants
during the fiscal quarter to discuss the particular situation . For the purposes of drawdown monitoring, the
Department will contact grantees who have drawn down 50% or more of the grant in the first quarter,
80% or more in the second quarter, and/or 100% of the cash in the third quarter of the budget period.
However, even amounts less than these thresholds could still represent excessive drawdowns for your
particular grant activities in any particular quarter. Grantees determined to have drawn down excessive
cash will be required to return the excess funds to the Department, along with any associated earned
interest, until such time as the money is legitimately needed to pay for grant activities. If you need
assistance with returning funds and interest, please contact the Department's GS Hotline by calling 1-888-
336-8930.

Grantees that do not follow Federal cash management requirements and/or consistently appear on the
Department's reports of excessive drawdowns could be:

•    subjected to specific award conditions or designated as a "high-risk" grantee [2 CFR Part 200.208
     and 2 CFR 3474.101, which could mean being placed on a "cash-reimbursement" payment method
     (i.e., a grantee would experience the inconvenience of having to pay for grant activities with its
     own money and waiting to be reimbursed by the Department afterwards);

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•   subject to further corrective action;
•   denied selection for funding on future ED grant applications [EDGAR 75.217(d)(3)(ii}l; and/or
•   debarred or suspended from receiving future Federal awards from any executive agency of the Federal
    government.

You are urged to read 2 CFR Part 200.305 to learn more about Federal requirements related to grant payments
and to determine how to apply these requirements to any subgrantees. You are urged to make copies of this
memorandum and share it with all affected individuals within your organization.




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     Frequently Asked Questions (FAQs) to Assist U.S. Department of Education (ED) Grantees
            to Appropriately Use Federal Funds for Food, Conferences, and Meetings 1
                                          August2024

Using Federal ED Grant (Discretionary and Formula) Funds for Food
    1. May a grantee use its U.S. Department of Education (ED) grant funds for food, beverages,
       or snacks at an event related to its grant?

    All grant expenditures, including those for food, beverages, or snacks, must be reasonable,
    necessary, allocable to the grant, and allowable. (Office of Management and Budget's (0MB)
    Uniform Administrative Requirements, Cost Principles, and Audit Requirements for Federal Awards
    (Uniform Guidance) at 2 CFR §§ 200.403 through 200.405). 2
    Generally, a grantee needs to substantiate with specificity the rationale for why paying for food and
    beverages with Department funds is necessary to meet the goals and objectives of a grant. When a
    grantee is hosting an event related to its ED grant, the grantee should first consider structuring the
    agenda for the meeting so that there is time for participants to bring or purchase their own food,
    beverages, and snacks. In addition, when planning a meeting, grantees may want to consider a
    location in which participants have easy access to food and beverages.
    There may be limited circumstances under which providing food or beverages is reasonable and
    necessary to achieve the purpose of a particular grant. Because food and beverage costs are not of a
    type generally recognized as ordinary and necessary for the operation of the grantee or the proper
    and efficient performance of the Federal award (see 2 CFR § 200.404(a)), grantees must document
    their evidence and analysis that justify that the use of food or beverage is reasonable and necessary
    in each instance.
    In determining reasonableness of a given cost, including those for food and drink, consideration
    must be given to:
          •   Whether the cost is generally recognized as ordinary and necessary for the grantee's
              operation or the proper and efficient performance of the Federal award;
          •   The restraints or requirements imposed by such factors as: sound business practices; arm's-
              length bargaining; Federal, State, local, Tribal, and other laws and regulations; and terms
              and conditions of the Federal award;
          •   Market prices for comparable costs for the geographic area;
          •   Whether the individuals concerned acted with prudence in the circumstances considering
              their responsibilities to the recipient or grantee, its employees, its students or membership (if
              applicable), the public at large, and the Federal Government; and

1 Other than statutory and regulatory requirements included in the document, the contents of this FAQ document do not have

the force and effect of law and are not meant to bind the public. This document is intended only to provide clarity to the
public regarding existing requirements under the law or agency policies.
2 Revisions to 2 CFR part 200, referred to as the "OMB Uniform Guidance," were published on April 22, 2024, and are

generally effective on October 1, 2024. In general, the April 2024 revisions do not substantively affect the content in this
FAQ document. While the 0MB Uniform Guidance in 2 CFR § 200.1 defmes recipient, this FAQ uses the term grantee to
align with the defmitions that apply to ED regulations in the Education Department General Administrative Regulations
(EDGAR) in 34 CFR § 77 .1.

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       •   Whether the cost represents a deviation from the recipient or grantee's established written
           policies and procedures for incurring (2 CFR § 200.404).
Please note that, in addition to determining whether the costs are necessary and reasonable, State
grantees also must determine whether the same costs are allowable under State law for the use of
State funds. Under 2 CFR § 200.302(a), States are required to expend and account for Federal funds
in accordance with State laws and procedures for expending and accounting for their own State
funds. In other words, if State laws or procedures would not permit the use of State funds for
conferences or meals, then State grantees may not use their Federal grant funds to pay those costs
either.
2. Are there examples of when food costs might be considered reasonable and necessary to the
   performance of a particular grant?

The question of whether a food cost is reasonable and necessary to the performance of a grant will
depend on the ED grant, including any program-specific rules or requirements that may apply to that
grant, as well as the unique circumstances of the food cost. The following are some examples of
situations when a food cost might be considered reasonable and necessary:
   •       Food costs at a family engagement event: For some ED programs, family engagement is a
           critical part of the purpose of the program or of the success of a project. In such a program, if
           a family meeting would occur during a typical mealtime, or if the grantee has evidence that
           attendance at the event would be affected by the absence of food or snacks, the grantee may
           be able to justify that is reasonable and necessary to provide light refreshments or meals to
           participants.

   •       Food costs for a working lunch at a day-long meeting: A grantee may find that one critical
           component of its grant activities is hosting an onsite day-long training for professionals
           working in a field that is a central focus of the grant. If the grantee is able to demonstrate that
           the lunchtime session is necessary to achieve the goals of the project, attendance at the
           lunchtime session is necessary to achieve full participation by attendees, and the business
           carried out at the lunchtime session could not be carried out at another reasonable time, the
           grantee may be able to justify that it is reasonable and necessary to provide meals or a snack
           to attendees.

   •       Light refreshments at a series of regular after-hours meetings: A grantee may find that an
           important part of its grant activities is hosting meetings after the traditional working day so
           that professionals from within the field but across different employers have an opportunity to
           collaborate on focused topics. If the grantee can demonstrate that the sessions have planned
           agendas that are central to the grant, that engaging this group of people is necessary to
           achieve the purposes of the grant, and that there is evidence that attendance at the meetings
           would be affected by the absence of food, the grantee may be able to justify that it is
           reasonable and necessary to provide light refreshments to participants.
   •       Costs oflight snacks at a day-long meeting: To achieve the purposes of its grant, a grantee
           may find that is necessary to host day-long meetings or training sessions so that involved
           individuals can collaborate. If the grantee has evidence that providing light snacks (e.g.,
           granola bars and water) at the meeting will result in improved participation, such as more



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          time spent on grant activities and less time needed for breaks during the sessions, the grantee
          may be able to justify that is reasonable and necessary to provide light snacks to participants.
   If an ED grantee has questions about a specific food cost, they should contact their ED program
   officer.
   3. What are examples of situations when costs for food would not be considered reasonable
      and necessary?

   There are some situations when food costs would not be considered reasonable and necessary to a
   grant or would otherwise be unallowable under the Uniform Guidance found at 2 CFR part 200.

      •   Food costs at networking sessions: In nearly all cases, using grant funds to pay for food and
          beverages for networking sessions with a purely social focus is not justified because
          participation in such activities is rarely necessary to achieve the purpose of the grant.
      •   Food costs at regular staff meetings: Food costs for recurring business meetings, staff
          meetings, or other day-to-day activities are generally not reasonable because participation in
          such activities is rarely necessary to achieve the purpose of the grant.
      •   Food costs for remote meetings: Food costs for meetings conducted remotely, such as
          sending food to individual meeting participants' locations, are generally not justified since
          participants' participation is less impacted by them attending the meeting remotely.
      •   Entertainment: Federal grant funds may not be used to pay for entertainment, which includes
          costs for amusement, diversion, and social activities, unless they have a specific and direct
          programmatic purpose and are included in the Federal award. 2 CFR § 200.438.
          Celebrations, receptions, banquets, and other social events generally are not events where
          purchasing food with ED grant funds is appropriate.
      •   Alcohol: In all cases, use of Federal funds for alcoholic beverages is unallowable. 2 CFR
          § 200.423.

Using ED Federal Grant {Discretionary and Formula) Funds to Host a Meeting or Conference
   4. May a grantee receiving funds from ED use its Federal grant funds to host a meeting or
      conference?

   Yes. Federal grant funds may be used to host a meeting or conference if doing so is:
      •   Consistent with its approved application or plan;
      •   For purposes that are directly relevant to the program and the operation of the grant, such as
          for conveying technical information related to the objectives of the grant; and
      •   Reasonable and necessary to achieve the goals and objectives of the approved grant.
   The Uniform Guidance in 2 CFR § 200.432 describes costs associated with conferences that may be
   allowable.
   5. What are examples of "technical information" that may be conveyed at a meeting or
      conference?



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     Examples of technical information include, but are not limited to, the following, each of which must
     be related to implementing the program or project funded by the grant:
          •   Specific programmatic, administrative, or fiscal accountability requirements;
          •   Best practices in a particular field;
          •   Theoretical, empirical, or methodological advances in a particular field;
          •   Effective methods of training or professional development; and
          •   Effective grant management and accountability.

    6. What factors should a grantee consider when deciding whether to host a meeting or
       conference?

    Grantees should consider whether a face-to-face meeting or conference is the most effective or
    efficient way to achieve the desired result and whether there are alternatives, such as webinars or
    video conferences, that would be equally or similarly effective and more efficient in terms of time
    and costs than a face-to-face meeting. In addition, grantees should consider how the meeting or
    conference will be perceived by the public; for example, will the meeting or conference be perceived
    as a good use of taxpayer dollars?
    7. Are there conflict-of-interest rules that grantees should follow when selecting vendors, such
       as logistics contractors, to help with a meeting or conference?

    As specified in 2 CFR § 200.317, States and Indian Tribes3 must comply with their own
    procurement policies and procedures, including any policies or procedures for ensuring that there are
    no conflicts of interest in the procurement process. In addition to its own policies and procedures, a
    State or Indian Tribe must also comply with the following procurement standards: 2 CFR
    §§ 200.321, 200.322, 200.323, and 200.327. If a State or Indian Tribe does not have its own
    procurement policies and procedures, it must follow the procurement standards in 2 CFR §§ 200.318
    through 200.327.
    Other grantees must follow procurement procedures that are consistent with their State, local, or
    Tribal laws and regulations, as appropriate, and that are also consistent with 2 CFR §§ 200.318
    through 200.327, including the minimum requirements in 2 CFR § 200.318 related to conflict of
    interest rules.
    8. When a meeting or conference is hosted by a grantee and charged to a Federal grant, may
       the meeting or conference be promoted as a U.S. Department of Education event?

    No. Meetings and conferences hosted by grantees are directed by the grantee, not the U.S.
    Department of Education. Therefore, the meeting or conference may not be promoted as a U.S.
    Department of Education meeting or conference, and the seal of the U.S. Department of Education
    must not be used on conference materials or signage, without ED's written approval. In addition, all
    meeting or conference materials paid for with Federal grant funds must include appropriate
    disclaimers, such as the disclaimer provided in 34 CFR§ 75.620. That language reads:


3 Please note that "States" were the only entities listed under 2 CFR § 200.317 prior to the revisions announced in OMB's

April 22, 2024, Federal Register notice.

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   The contents of this [insert type of publication; such as book, report, film, website, and web
   page] were developed under a grant from the U.S. Department of Education (Department). The
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   private organization. The Department does not control or guarantee the accuracy, relevance,
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   publication] does not necessarily represent the policy of the Department. This publication is not
   intended to represent the views or policy of, or be an endorsement of any views expressed or
   materials provided by, any Federal agency.
Please note that if a grantee charges a fee for attendance at a particular meeting or conference
paid for with Federal grant funds, any income generated must be treated as program income
under 2 CFR § 200.307 or specific program regulations addressing program income.
9. When a grantee is hosting a meeting or conference, may the grantee use Federal grant
   funds to pay for food, beverages, or snacks?

As detailed in questions #1-3 above, in general there is a need to substantiate with specificity the
rationale for why paying for food and beverages with Department funds is necessary to meet the
goals and objectives of a grant, but there may be circumstances when providing food or beverages at
a conference is reasonable and necessary to achieve the purpose of the grant. Please see those
questions for information about requirements and considerations related to food costs.
10. May a grantee contract with a hotel under which Federal grant funds will be used to
    provide meals, snacks, and beverages as part of the cost for meeting rooms and other
    allowable conference-related costs?

Federal grant funds may only be used for expenses that are reasonable and necessary. In planning a
conference or meeting and negotiating with vendors for meeting space and other relevant goods and
services, grantees may only pay for allowable costs. The fact that food and beverages are embedded
in a contract for meeting space does not mean that the food and beverages are being provided at no
cost to the grantee. Therefore, if the food and beverage cost is not an allowable cost, and a hotel
vendor embeds food and beverage costs into a hotel contract for meeting space, the grantee should
work with the hotel to have the food and beverage costs identified and removed from the contract,
and have the price for the meeting space appropriately adjusted.
11. What if a hotel or other venue provides "complimentary" beverages (e.g., coffee, tea) and
    there is no charge to the grantee hosting the meeting?

The grantee has an obligation, under these circumstances, to confirm that the beverages are truly
complimentary and will not be reflected as a charge to the grant in another area. For example, many
hotels provide complimentary beverages to all guests who attend a meeting at their facility without
reflecting the costs of those beverages in other items that their guests or, in this case, the grantee
purchases. As noted above, it would not be acceptable for a vendor to embed the cost of beverages in
other costs, such as meeting space, without those costs being separately allowable.
12. May indirect cost funds be used to pay for food and beverages?

No. The cost of food and beverages, which are related to meetings that are easily associated with a
specific cost and grant objectives, are more appropriately treated as direct costs rather than indirect
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costs. As noted above, Federal grant funds cannot be used to pay for food and beverages unless
doing so is reasonable and necessary.




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   13. May a grantee use non-Federal resources (e.g., State or local resources) to pay for food or
       beverages at a meeting or conference that is being held to meet the goals and objectives of
       its grant?

   Grantees should follow their own policies and procedures and State and local law for using non-
   Federal resources to pay for food or beverages, including its policies and procedures for accepting
   gifts or in-kind contributions from third parties. Grantees should be sure that any food and beverages
   provided with non-Federal funds are appropriate for the grantee event, and do not detract from the
   event's purpose. Please note that, in general, any funds that a grantee contributes to a project as part
   of the program's matching or cost-sharing requirement would be subject to the same rules that
   govern the Federal funds; therefore, the non-Federal funds used to pay for food and beverages for a
   meeting or conference could only be eligible for use in meeting cost-share or match obligations if
   Federal funds would also be allowable to pay for the food and beverages.
   14. May grantees provide meeting participants with the option of paying for food and
       beverages (e.g., could a grantee have boxed lunches provided at cost for participants)?
   Yes. Grantees may offer meeting participants the option of paying for food (such as lunch, breakfast,
   or snacks) and beverages, and arrange for these items to be available at the meeting.


Using Federal Grant Funds to Pay for Costs of Attending a Meeting or Conference Sponsored by
ED or a Third Party
   15. May grantees use Federal grant funds to pay for the cost of attending a meeting or
       conference?

   If attending a meeting or conference is necessary to achieve the goals and objectives of the grant,
   and if the expenses are reasonable (based on the grantee's own policies and procedures, and State
   and local laws), Federal grant funds may be used to pay for travel expenses of grantee employees,
   consultants, or experts to attend a meeting or conference. To determine whether a meeting or
   conference is "necessary," grantees should consider whether the goals and objectives of the grant
   can be achieved without the meeting or conference and whether there is an equally effective and
   more efficient way (in terms of time and money) to achieve the goals and objectives of the grant (see
   question #6). To determine whether the expenses are "reasonable," grantees should consider how the
   costs (e.g., lodging, travel, registration fees) compare with other similar events and whether the
   public would view the expenses as a worthwhile use of Federal funds.

   16. What should a grantee consider when planning to use Federal grant funds for attending a
       meeting or conference?

   Among other considerations, grantees should consider how many people should attend a meeting or
   conference on its behalf. The number of attendees should be reasonable and necessary to accomplish
   the goals and objectives of the grant. The grantee should also determine whether it is necessary to
   attend the entire meeting or conference, or whether attending only a portion of the meeting or
   conference is reasonable and necessary.
   17. What travel expenses may be paid for with Federal grant funds?



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   Grantees may use Federal grant funds for travel expenses only to the extent such costs are reasonable
   and necessary and do not exceed charges normally allowed by the grantee in its regular operations
   consistent with its written travel policies. See 2 CFR § 200.475. Federal grant funds may be used to
   pay expenses for transportation, per diem, and lodging if the costs are reasonable and necessary.
   Federal grant funds may not be spent on alcohol. See 2 CFR § 200.423. Grantees should follow their
   own travel and per diem rules and costs when charging travel expenses to their Federal grant. In the
   absence of an acceptable written policy regarding travel costs, grantees must satisfy the requirements
   of2 CFR § 200.475(d).


   18. What should grantees consider when including Federal employees at a grantee-sponsored
       meeting or conference?

   In some situations, a grantee may invite a Federal employee to participate in or present at a grantee-
   organized meeting or conference. Federal employees are subject to Federal ethics laws and
   regulations. This includes laws and regulations governing conflicts of interest and gifts (e.g., waiver
   of a registration fee, travel expenses, and meals). Grantees may be subject to their own ethics laws
   and regulations, and grantee employees should ensure that they comply with them.


Questions Regarding the Allowable Use of Federal Grant Funds
   19. What resources are available to help grantees determine whether costs associated with
       meetings and conferences are reasonable and necessary?

   Grantees must follow all applicable statutory and regulatory requirements in determining whether
   costs are reasonable, necessary, and allowable, especially the regulations found at 2 CFR part 200.

   20. Is it allowable for a person whose travel costs are being paid with Federal grant funds to
       attend a conference in Washington, D.C., and lobby members of Congress while in town?

   Appropriated funds may not, except under very limited circumstances, be used for expenses related
   to any activity designed to influence the enactment of legislation, appropriations, regulations,
   administrative actions, or Executive Orders proposed or pending before the Congress or the
   Administration. See 2 CFR § 200.450. To the extent that a portion of time at a conference is spent on
   lobbying activities, costs associated with the lobbying, including transportation to and from
   Washington, D.C., lodging, and per diem, may not be charged to the Federal grant. For example, if a
   meeting or conference lasts for two days and a visit to lobby a member of Congress requires an
   additional day of travel, it could be determined that one-third (1/3) of all costs involved in attending
   the meeting or conference, including travel to and from Washington, D.C., may not be charged to the
   grant.

   On the other hand, educating members of Congress about facts relevant to a particular grant program
   would not, absent other facts, constitute lobbying. For example, it would not be considered a
   prohibited lobbying activity for a grantee to inform a member of Congress about its program, the
   services it provides, and the individuals it serves. It also would not be considered a prohibited
   lobbying activity to attend a presentation by members of Congress related to issues relevant to a
   grantee's program or the population it serves in general. However, such education-oriented

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discussions could easily cross---or appear to cross-the thin line to prohibited lobbying activities.
For example, a discussion about the challenges a grantee faces with respect to requirements
governing matching funds could easily expand to a discussion about the need for more appropriated
funds or legislative changes, which would constitute prohibited lobbying activities. Given that
Congress frequently considers the reauthorization of ED programs, a grantee's interactions with
members of Congress on such topics could meet the definition of lobbying, which is prohibited. In
that case, the costs associated with those interactions could not be supported with Federal funds.

21. What are the consequences of using Federal grant funds on unallowable expenses?

ED may seek to recover any Federal grant funds identified, in an audit or through program
monitoring, as having been used for unallowable costs, including unallowable conference expenses.
22. Whom should grantees call if they have specific questions about the allowable use of
    Federal grant funds?

ED grantees are encouraged to contact their ED program officer to discuss the allowable use of
Federal grant funds, including the allowable use of Federal grant funds for meetings and
conferences.




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  MEMORANDUM TO REMIND DEPARTMENT OF EDUCATION GRANTEES OF EXISTING CASH
            MANAGEMENT REQUIREMENTS CONCERNING PAYMENTS



The Department of Education (the Department) requires that its grantees adhere to existing cash
management requirements concerning payments and will ensure that their subgrantees are also aware
of these policies by providing them relevant information.

A grantee's failure to comply with cash management requirements may result in an improper payment
determination by the Department in accordance with the Payment Integrity Information Act {PIIA) of
2019.

Excessive Drawdowns

In the context of grants, excessive drawdown refers to the situation where a grantee withdraws more
funds than necessary from the grantor, which can lead to financial and compliance issues. In accordance
with cash management requirements, grant funds are drawn down incrementally to cover immediate
expenses related to the grant activities. If a grantee draws down excessive funds, they may be required
to return the surplus along with interest. This situation can arise from poor financial management, lack
of proper accounting practices, or misalignment with the grant's stipulated budget and objectives.

To avoid excessive drawdown, it is crucial for grantees to implement and maintain robust accounting
systems, track expenses accurately, and adhere to the grant's budget and reporting requirements.
Proper planning and monitoring of fund allocation, maintaining accurate records, and ensuring timely
drawdowns aligned with actual expenses are essential practices. Additionally, grantees should be aware
of the specific drawdown procedures and requirements set by the grantor, which can vary depending on
whether the grant is federally funded or comes from other sources.

Cash Management Requirements

There are three categories of payment requirements that apply to the drawdown of funds from grant
accounts at the Department. The first two types of payments are subject to the requirements in the
Treasury Department regulations implementing the Cash Management Improvement Act (CMIA) of
1990, 31 U.S.C.6513, and the third is subject to the requirements in the Uniform Administrative
Requirements, Cost Principles, and Audit Requirements for Federal Awards (Uniform Guidance) at 2 CFR
part 200, 1 as follows :

  1.     Payments to a State under programs that are covered by a State's Treasury State Agreement
         (TSA);

  2.     Payments to States under programs that are not covered by a TSA; and

  3.     Payments to other non-Federal entities, including nonprofit organizations and local
         governments.



1 The Department adopts the Uniform Guidance as regulations of the Department at 2 CFR part 3474.



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CMIA Requirements Applicable to Programs included in a TSA

Generally, under the Treasury Department regulations implementing the CMIA, only major assistance
programs (large-dollar programs meeting thresholds in 31 CFR § 205.5) are included in a State's written
TSA. See 31 CFR § 205, subpart A. Programs included in a TSA must use approved funding techniques
and both States and the Federal government are subject to interest liabilities for late payments. State
interest liabilities accrue from the day federal funds are credited to a State account to the day the State
pays out the federal funds for federal assistance program purposes. 31 CFR § 205.15. If a State makes a
payment under a Federal assistance program before funds for that payment have been transferred to
the State, Federal Government interest liabilities accrue from the date of the State payment until the
Federal funds for that payment have been deposited to the State account. 31 CFR § 205.14.

CMIA Requirements Applicable to Programs Not Included in a TSA

Payments to States under programs not covered by a State's TSA are subject to subpart B of Treasury's
regulations in 31 CFR § 205. These regulations provide that a State must minimize the time between the
drawdown of funds from the federal government and their disbursement for approved program
activities. The timing and amount of funds transfers must be kept to a minimum and be as close as is
administratively feasible to a State's actual cash outlay for direct program costs and the proportionate
share of any allowable indirect costs. 31 CFR § 205.33(a) . States should exercise sound cash
management in funds transfers to subgrantees.

Under subpart B, neither the States nor the Department owe interest to the other for late payments. 31
CFR § 205.33(b). However, if a State or a Federal agency is consistently late in making payments,
Treasury can require the program to be included in the State's TSA. 31 CFR § 205.35.

Fund transfer requirements for grantees other than State governments and subgrantees

The transfer of Federal program funds to grantees other than States and to subgrantees are subject to
the payment and interest accrual requirements in the Uniform Guidance at 2 CFR § 200.305(b). These
requirements are like those in subpart B of the Treasury Department regulations in 31 CFR part 205,
requiring that "For recipients and subrecipients other than States, payment methods must minimize the
time elapsing between the transfer of funds from the Federal agency or the pass-through entity and the
disbursement of funds by the recipient or subrecipient regardless of whether the payment is made by
electronic funds transfer or by other means." 2 CFR § 200.305(b).

The Federal Government and pass-through entities must make payments in advance of expenditures by
grantees and subgrantees if these non-Federal entities maintain, or demonstrate the willingness to
maintain, written procedures "that minimize the time elapsing between the transfer of funds and
disbursement by the recipient or subrecipient, and financial management systems that meet the
standards for fund control and accountability." 2 CFR § 200.305(b)(l). If a grantee or subgrantee cannot
meet the criteria for advance payments, a Federal agency or pass-through entity can pay that entity
through reimbursement. See 2 CFR § 200.305(b)(l) and (3) for more detailed description of the
payment requirements and the standards for requiring that payments be made by reimbursement.




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Returning Earned Interest

Non-Federal entities must maintain advance payments in interest bearing accounts unless certain
conditions exist. See 2 CFR § 200.305(b)(11) for those conditions. The requirements regarding interest
accrual and remittance follow:

Recipients or subrecipients may retain up to $500 per year of interest earned on Federal funds to use for
administrative expenses of the recipient or subrecipient. Any additional interest earned on Federal funds
must be returned annually to the Department of Health and Human Services Payment Management
System (PMS) through either the Automated Clearing House (ACH) network or a Fedwire Funds Service
payment. All interest in excess of $500 per year must be returned to PMS regardless of whether the
recipient or subrecipient was paid through PMS. Instructions for returning interest can be found at
Returning Funds/Interest I HHS PSC FMP Payment Management Services. 2 CFR § 200.305(b)(12).
Additionally, these instructions are provided below.

  1.     Returning Interest to PMS

         PMS is the central collection point for interest earned on all federal grants, whether they are
         paid through the Payment Management System or not.

             a.   Domestic Automated Clearing House (ACH) Returns (Direct Deposit)

         Returning funds via Automated Clearing House (ACH) means you will most likely be returning
         funds in the manner in which they were received at your organization.

         ACH account information to be included:

         •   PSC ACH Routing Number is:
         •   PSC DFI Accounting Number: :
         •   Bank Name: Credit Gateway - ACH Receiver
         •   Location: St. Paul, MN

         Additionally, include the following:

         •   An explanation stating that the refund is for interest
         •   The name of the awarding agency
         •   The grant number(s) for which the interest was earned
         •   The return should be made payable to: Department of Health and Human Services.

             b.   International Automated Clearing House (ACH) Returns (Direct Deposit)

         ACH Account Information to be Included For Payments Sent in U.S. Dollars (USO):

         •    Beneficiary Account: Federal Reserve Bank of New York/ITS (Can abbreviate: FRBNY/ITS)
         •    Bank: Citibank N.A. (New York)
         •    SWIFT Code: CITIUS33
         •    Account Number:
         •    Routing Number:
         •    Bank Address: 388 Greenwich Street, New York, NY 10013

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  •   Payment Details (Line 70): Agency Name (abbreviated when possible) and Agency Locator
      Code(ALC)
  •   Agency POC: James Kruper, (301) 492-4998

  For a USO payment, the payment sender must include:

  •   Agency Locator Code (ALC): 75010501
  •   Name: US Department of Health and Human Services, PMS Account Number and Grant
      Subaccount Number in the Payment Details (Line 70) section of the SWIFT message.

  This information must be in this section of the payment instructions, or the International
  Treasury Service (ITS) will not be able to identify the federal agency the payment is for. Without
  this identifying information, ITS will be required to return the payment as unidentified or unable
  to post. The receiving account is in the name of "Federal Reserve Bank of New York/ITS" and the
  payment originator should list that as the name on the beneficiary account.

  Additionally, include the following:

  •   An explanation stating that the refund is for interest
  •   The name of the awarding agency
  •   The grant number(s) for which the interest was earned
  •   The return should be made payable to: Department of Health and Human Services.

      c.   FedWire Returns

  Service charges may be incurred from a grantee's financial institution when a Fedwire to return
  interest is initiated. For FedWire returns, Fedwire account information is as follows:

  •   Fedwire Routing Number:
  •   Agency Location Code (ALC):
  •   Bank Name: Federal Reserve Bank
  •   Treas NYC/Funds Transfer Division
  •   Location: New York, NY

  Additionally, include the following:

  •   An explanation stating that the refund is for interest
  •   The name of the awarding agency
  •   The grant number(s) for which the interest was earned
  •   The return should be made payable to: Department of Health and Human Services.

      d.   Check Returns (USPS Only)

  Interest may be returned by check using only the U.S. Postal Service; however, returning
  interest via check may take 4-6 weeks for processing before a check payment may be applied to
  the appropriate PMS account.



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         •   Interests returned by check are to be mailed (USPS only) to:

                  HHS Program Support Center
                  PO Box 979132
                  St. Louis, MO 63197

         A brief statement explaining the nature of the return must be included.

         To return interest on a grant not paid through the PMS, make the check payable to the
         Department of Health and Human Services, and include the following with the check:

         •   An explanation stating that the refund is for interest
         •   The name of the awarding agency
         •   The grant number(s) for which the interest was earned
         •   The return should be made payable to: Department of Health and Human Services.

Cash Management Monitoring Responsibilities of Pass-Through Entities

Grantees, including grantees that act as pass-through entities and subgrantees have other
responsibilities regarding the use of Federal funds. For example, all grantees and subgrantees must
have procedures for determining the allowability of costs for their awards. We highlight the following
practices related to the oversight of subgrantee compliance with the financial management
requirements in the Uniform Guidance that will assist State grantees (pass-through entities) in meeting
their monitoring responsibilities. Under 2 CFR § 200.332, pass-through entities must -

    1.   Verify that the subrecipient is not excluded or disqualified in accordance with §180.300.
         Verification methods are provided in§ 180.300, which include confirming in SAM.gov that a
         potential subrecipient is not suspended, debarred, or otherwise excluded from receiving Federal
         funds.

    2. Ensure that every subaward is clearly identified to the subrecipient as a subaward and includes
       the information identified in§ 200.332(b) .

    3.   Evaluate each subrecipient's fraud risk and risk of noncompliance with a subaward to determine
         the appropriate subrecipient monitoring. See§ 200.332(b) & (f).

    4.   Monitor the activities of a subrecipient as necessary to ensure that the subrecipient complies
         with Federal statutes, regulations, and the terms and conditions of the subaward. The pass-
         through entity is responsible for monitoring the overall performance of a subrecipient to ensure
         that the goals and objectives of the subaward are achieved. See§ 200.332(e).

    5.   Consider taking enforcement action against noncom pliant subrecipients as described in
         § 200.339 and in program regulations.

A small number of Department grant programs have program-specific cash management and payment
requirements based on the authorizing legislation or program regulations. These program-specific
requirements may supplement or override general cash management or payment requirements. If you


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have any questions about your specific grant, please contact the Education Program Contact listed in
Block 3 of your Grant Award Notification.




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    RECIPIENTS OF DEPARTMENT OF EDUCATION GRANTS AND COOPERATIVE AGREEMENTS
                  FREQUENTLY ASKED QUESTIONS ON CASH MANAGEMENT


Q     What are the Federal Laws and Regulations Regarding Payments to the States?
A     The Cash Management Improvement Act of 1990 (CM/A) establishes interest liabilities for the
      Federal and State governments when the Federal Government makes payments to the States.
      See 31 U.S.C. 3335 and 6503. The implementing regulations are in Title 31 of the Code of
      Federal Regulations (CFR), Part 205, eCFR :: 31 CFR Part 205 -- Rules and Procedures for Efficient
      Federal-State Funds Transfers. Non-Federal entities other than States follow the rules on
      Federal payments set out in 2 CFR 200.305.

Q     What is a Treasury-State Agreement (TSA)?
A     A TSA documents the accepted funding techniques and methods for calculating interest agreed
      upon by the U.S. Department of the Treasury (Treasury) and a State. It identifies the Federal
      assistance programs that are subject to interest liabilities under the CMIA. The CMIA regulations
      specify several different funding techniques that may be used by a State, but a State can
      negotiate with the Treasury Department to establish a different funding technique for a
      particular program. A TSA is effective until terminated and, if a state does not have a TSA,
      payments to the State are subject to the default techniques in the regulations that Treasury
      determines are appropriate.

Q     What are the CMIA requirements for a program subject to a Treasury-State Agreement?
A     Payments to a State under a program of the Department are subject to the interest liability
      requirements of the CMIA if the program is included in the State's Treasury-State Agreement
      (TSA) with the Department of Treasury. If the Federal government is late in making a payment
      to a State, it owes interest to the State from the time the State spent its funds to pay for
      expenditure until the time the Federal government deposits funds to the State's account to pay
      for the expenditure. Conversely, if a State is late in making a payment under a program of the
      Department, the State owes interest to the Federal government from the time the Federal
      government deposited the funds to the State's account until the State uses those funds to make
      a payment. For more information, see GAN Enclosure 4.


Q     What are the CMIA requirements for a program that is not subject to a Treasury-State
      Agreement?
A     If a program is not included in the State's TSA, neither the State nor the Federal government are
      liable for interest for making late payments. However, both the Federal government and the
      State must minimize the time elapsing between the date the State requests funds and the date
      that the funds are deposited to the State's accounts. The State is also required to minimize the
      time elapsed between the date it receives funds from the Federal government and the date it
      makes a payment under the program. Also, the Department must minimize the amount of funds
      transferred to a State to only that needed to meet the immediate cash needs of the State. The
      timing and amount of funds transferred must be as close as is administratively feasible to a
      State's actual cash outlay for direct program costs and the proportionate share of any allowable
      indirect costs.


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Q    What if there is no TSA?
A    When a State does not have a TSA in effect, default procedures in 31 CFR, part 205 that the
     Treasury Department determines appropriate apply. The default procedures will prescribe
     efficient funds transfer procedures consistent with State and Federal law and identify the
     covered Federal assistance programs and designated funding techniques.

Q    Who is responsible for Cash Management?
A    Grantees and subgrantees that receive grant funds under programs of the Department are
     responsible for the financial management and maintaining internal controls regarding the
     management of Federal program funds under the Uniform Guidance in accordance with 2 CFR
     200.302 and 200.303 respectively. In addition, grantees are responsible for ensuring that
     subgrantees are aware of the cash management and requirements in 2 CFR part 200, subpart D.

Q    Who is responsible for monitoring cash drawdowns to ensure compliance with cash
     management policies?
A    Recipients must monitor their own cash drawdowns and those of their subrecipients to assure
     substantial compliance to the standards of timing and amount of advances.

Q    How soon may I draw down funds from the GS grants management system?
A    Grantees are required to minimize the amount of time between the drawdown and the
     expenditure of funds from their bank accounts. (See 2 CFR 200.305(b).) Funds must be drawn
     only to meet a grantee's immediate cash needs for each individual grant. The GS screen displays
     the following message:

     By submitting this payment request, I certify to the best of my knowledge and belief that the
     request is based on true, complete, and accurate information. I further certify that the
     expenditures and disbursements made with these funds are for the purposes and objectives
     set forth in the applicable Federal award or program participation agreement, and that the
     organization on behalf of which this submission is being made is and will remain in compliance
     with the terms and conditions of that award or program participation agreement. I am aware
     that the provision of any false, fictitious, or fraudulent information, or the omission of any
     material fact, may subject me, and the organization on behalf of which this submission is being
     made, to criminal, civil, or administrative penalties for fraud, false statements, false claims, or
     other violations. (U.S. Code Title 18, Section 1001; Title 20, Section 1097; and Title 31, Sections
     3729-3730 and 3801-3812)

Q    How may I use Federal funds?
A    Federal funds must be used as specified in the Grant Award Notification (GAN) and the approved
     application or State plan for allowable direct costs of the grant and an allocable portion of
     indirect costs, if authorized.

Q    What are the consequences to recipients/subrecipients for not complying with terms of the
     grant award?
A    The Federal agency or pass-through entity may implement specific conditions if the recipient or
     subrecipient fails to comply with the U.S. Constitution, Federal statutes, regulations, or terms
     and conditions of the Federal award. See § 200.208 for additional information on specific
     conditions. When the Federal agency or pass-through entity determines that noncompliance


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     cannot be remedied by imposing specific conditions, the Federal agency or pass-through entity
     may take one or more of the following actions:

         •   Temporarily withhold payments until the recipient or subrecipient takes corrective
             action.
         •   Disallow costs for all or part of the activity associated with the noncompliance of the
             recipient or subrecipient.
         •   Suspend or terminate the Federal award in part or in its entirety.
         •   Initiate suspension or debarment proceedings as authorized in 2 CFR part 180 and the
             Federal agency's regulations, or for pass-through entities, recommend suspension or
             debarment proceedings be initiated by the Federal agency.
         •   Withhold further Federal funds (new awards or continuation funding) for the project or
             program .
         •   Pursue other legally available remedies.

Q    Who is responsible for determining the amount of interest owed to the Federal government?
A    As set forth in 31 CFR 205.9, the method used to calculate and document interest liabilities is
     included in the State's TSA. A non-State entity must maintain advances of Federal funds in
     interest-bearing accounts unless certain limited circumstances apply and remit interest earned
     on those funds to the Department of Health and Human Services, Payment Management System
     annually. See 2 CFR 200.305.

Q    What information should accompany my interest payment?
A    In accordance with 2 CFR § 200.305(b)(12)), interest in excess of $500.00 earned on Federal
     advance payments deposited in interest-bearing accounts must be remitted annually to the
     Department of Health and Human Services Payment Management System (PMS) through an
     electronic medium using either Automated Clearing House (ACH) network or a Fedwire Funds
     Service payment. Instructions for returning interest, including the information that must be
     submitted, can be found at Returning Funds/Interest I HHS PSC FMP Payment Management
     Services. Additionally. these instructions are provided in GAN Enclosure 4.

Q    Are grant recipients/subrecipients automatically permitted to draw funds in advance of the
     time they need to disburse funds in order to liquidate obligations?
A    The payment requirements in 2 CFR 200.305(b) authorize a grantee or subgrantee to request
     funds in advance of expenditures if certain conditions are met. However, if those conditions are
     not met, the Department and a pass-through agency may place a payee on reimbursement.

Q    For formula grant programs such as ESEA Title I, for which States distribute funds to LEAs, may
     States choose to pay LEAs on a reimbursement basis?
A    A subgrantee must be paid in advance if it meets the standards for advance payments in 2 CFR
     200.30S(b)(l) but if the subgrantee cannot meet those standards, the State may put the
     subgrantee on reimbursement payment. See 2 CFR 200.30S(b) .

Q    Will the Department issue special procedures in advance if GS plans to shut down for 3 days or
     more?
A    Yes, before any shutdown of GS lasting three days or more, the Department issues special
     guidance for drawing down funds during the shutdown. The guidance will include cash


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 management improvement act procedures for States and certain State institutions of higher
 education and procedures for grants (including Pell grants) that are not subject to CMIA.




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